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Case 2:18-cr-00173-GW Document 1

UNITED STATES DISTRICT COURT i

FOR THE CENTRAL DISTRICT OF CALIFORNIA

Filed 03/29/18 Page 1of136 Page ID #1

G34

 

June 2016 Grand Jury

UNITED STATES OF AMERICA,

Plaintifé,
Vv.

LANDA-RODRIGUEZ,
“Jose Rodriguez—-Landa,”
“Jose Landa,”
“Jose Rodriguez,”
‘FOX, “uw

“Fox Tapia,”
\F-X, 7

“Alejandro Tapia,”
“Cola Rojo,”
“Red Tail,”
“Pops, uw

“Tio, a" .
“The General,”
“Taras,”

“The Old Man,”
“The Animal,”
“Old School,”
VEGA,

“Little One,”
“L-1, uw

“Tito, uw

GABRIEL ZENDEJAS-CHAVEZ,

“Corbatas,”

RAFAEL LEMUS,

“Ere, ihe .

“The Voice,”
“La Voz,”
GARCIA,
“Hefty, “u

 

T8CRO0173-A

[18 U.S.C. § 1962(d): Racketeer
Influenced and Corrupt
Organizations Conspiracy; 18
U.S.C. $§ 1959{a) (1), (3), (5),
(6): Violent Crimes in Aid of
Racketeering Activity; 21 U.S.C.

'§ 846: Conspiracy to Distribute

and Possess With Intent to
Distribute Controlled Substances;
21 U.S.C. §§ 841 (a) (1), (b) (1) (A),
(b) (1) (B), (b) (1) (C), (b) (1) (D):
Possession with Intent to
Distribute Controlled Substances;
18 U.S.C. § 1956(a) (1) (A) (i):
Money Laundering; 18 U.S.C.

§ 1029(a) (3): Possession of at
Least Fifteen Access Devices; 18
U.S.C. § 1028A(a) (1): Aggravated
Identity Theft; 18 U.S.C.

§ 924(c) (1) (A): Possession, Use,
and Carrying of a Firearm During
and in Relation to, and in
Furtherance of, a Crime of
Violence and/or a Drug Trafficking
Crime; 18 U.S.C. § 922(g) (1):
Felon in Possession of Firearms
and Ammunition; 18 U.S.C. § 2:
Aiding and Abetting and Causing an
Act to Be Done; 18 U.S.C. § 1963;
21 U.S.C. § 853; 18 U.S.C.

§ 924(d): Criminal Forfeiture]

 

 
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aka “Grimm, ”
aka “HH,”
ALVINO MUNOZ,
aka “Bino,”
aka “B, Mr
DANIEL CHRVANTES,
aka “Maniac,”
aka ‘J, ua
aka “Paisa Jose,”
MIGUEL CALDERON,
aka “Big Speedy,”
aka “Mickey,”
ERNESTO VARGAS,
aka “Huero,”
aka “Huero Caballero,”
aka “Paisa Huero,”
MIGUEL RODRIGUEZ,
aka “Rebel,”
aka “Pee Wee,”
aka ‘R, us
GILBERT PARRA,
aka “Droopy,”
aka “Chavo,”
GERARDO TAPIA,
aka “Jerry,”
DONATO GONZALES,
aka “Nato,”
aka “Nasty,”
aka “Debo,”
aka “Ray,”
MIGUEL GARCIA,
aka “Toro,”
aka “Hulk,”
aka “T, “a
aka “Horns,”
HECTOR DUARTE,
aka “Lil Man,”
aka “Hecko,”
SAMANTHA RIVERA,
aka “Sam,”
aka “S, “a
MARK LANDEROS,
aka “Smokey,”
aka “Troy,”
aka “Hot,”
JONATHAN VERDEJA,
aka “Hardcore,”
aka’ “Duke,”
CECILIA VIRGEN,
aka “Cecilia DeLeon,”
aka “Sessy,”
aka “Hazel,”
aka “Gia,”
aka “Sky,”
aka “Hooker,”

 

 

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LAUREEN GARCIA,
aka “EL, “a
NANCY DUARTE,
aka “Pink,”
VALERIE TREJO,
aka “Val,”
GENESSTS BLANCO,
aka “Pink,”
KELLY JO BELL,
JOSE FLORES,
aka “Silent,”
aka “Lo,”
MARK LEVY,
aka “Cloudy,”
aka “C3,”
VALENTIN CORDOVA,
aka “Teen,”
FRANKIE MEGORADO,
aka “Frankie Mejorado,
aka “Slick,”
aka “Junior,”
aka “Speedy,”
JOSE OLEA,
aka “Sniper,”
MANUEL JIMENEZ,
aka “Porky,”
ALAVARO LEYVA,
aka “Flaco,”
aka “Trigger,”
CHRIS FERREIRA,
aka “Caveman,”
DAVID BERNARDINO,
aka “Downer,”
ANDREW PINEDA,
aka “Mighty,”
aka “Shy Boy,”
ALONDRA GOMEZ,
MIRIAM MEZA,
ANA MARTINEZ,
aka “Ana America,”
aka “Bandit,”
ALVARO RUIZ,
aka “Roach,”
ADRIAN ARATZA,
aka “Chemo,”
GAIL, PONCE,
aka “Bashful,”
DIANA MARTINEZ,
aka “Devine,”
MARLON CORNEJO,
aka “Maniac,”
ANGEL SANCHEZ,
aka “Lil Triste,”
JUAN REYES,
aka “Cosmo,”

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RICHARD BAILEY,

aka “Spooks,”

aka “Nigger Richard,”

aka “Half and Half,”
MICHAEL BENNETT,

aka “Irish,”
EDWIN AYALA,

aka “Happy,”
DAVID VILLALOBOS,

aka “Grumpy,”
DAVID DIAZ,

aka “Stomps,”
ROBERT RAMIREZ,

aka “Wiz,”
KRISTEN AYALA,
RICHARD GRIEGO,

aka “Twisted,”

aka “Pretzel,”
JUAN LEONARD GARCIA,

aka “Little John,”

aka “Trevor,”
MARK MARTINEZ,

aka “Brat,”
AMO WEST,

aka “Chico,”
RAMTRO ANDRADE,

aka “Scrappy,”
OSWALDO QUINTERO,

aka “Sporty,”
NICHOLAS ESCARCEGA,

aka “Tweeks,” .
CHRISTIAN FUENTES,

aka “Nino,”
FRANCISCO RUIZ,

aka “Pancho,”

aka “Scooby,”
JOSE VERA,

aka “Sapo,”
JONATHAN RODRIGUEZ,

aka “Sharkie,”
BRYANNA MCCULLAH,

aka “Bee Bee,”
JUAN NMN GARCIA,

aka “Trouble,”
JONATHAN MENDEZ,

aka “Casper,”

aka “Smokes,”
MARTIN SALAZAR,

aka “Sweeper,”
RAMON AMAYA,

aka “Lil Happy,”
FRANK HERRERA,

aka “Dopey,”

aka “Ben,”

 

 

 

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ALEJANDRO MARTINEZ,
aka “Smokey,” and
MARCO MEZA,
aka “Green Eyes,”
aka “Ojos,”

Defendants.

 

The Grand Jury charges:

GENERAL ALLEGATIONS

A. HISTORY AND STRUCTURE OF THE MEXICAN MAFIA

 

1. The Mexican Mafia, also known as “La Eme,” is a “gang of
gangs” comprised mostly of senior members of southern California
Hispanic street gangs who have come togéther to control and profit
from the activities of Hispanic gangs operating in, southern
California. La Eme was established in the 1950s by Hispanic youth
inmates at the Duell Vocational Facility, but over the decades has
morphed into an international criminal organization. Today, there
are approximately 140 full members of the Mexican Mafia, referred to
as “carnales” or “brothers.” The majority of Mexican Mafia members
are incarcerated in California prisons or jails or in federal
prisons. By exercising control over inmates in the prison and jail
systems, primarily through violence and threats of violence, the
Mexican Mafia is able to control the activities of southern
California Hispanic criminal street gangs, both inside and outside
custody facilities. Mexican Mafia members and associates wield such
power over the prison and jail populations that they are able to
order that acts of violence be carried out not only against other
prison or jail inmates, but also against street gang members and

others outside of prison or jail.

 

 

 
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2. Members of the Mexican Mafia have divided control of, and
the rights to criminal proceeds from, nearly all penal facilities in
California, including state prison and county jail systems.
Similarly, members of the Mexican Mafia have divided the rights to
criminal proceeds from the activities of southern California Hispanic
criminal street gangs in various southern California neighborhoods.

3. Generally, one member of the Mexican Mafia has control of
and rights to a specific facility. That member, whether incarcerated
in that facility or not, will control the smuggling of drugs into the
facility, the collection of taxes from the sale of those drugs,
extortion within that facility (including the kitty and other fines
discussed below), and the maintenance of discipline within the
facility. In some cases, different members of the Mexican Mafia may
control different parts of the same facility.

4. Similarly, members of the Mexican Mafia have divided
control of and the rights to “taxes,” or a share of criminal proceeds
from criminal activities including drug trafficking, from nearly all
Hispanic gangs in southern California. Generally, one member of the
Mexican Mafia has control of and rights to a specific area; that
Mexican Mafia member will control the sale of drugs within that area,
the collection of taxes from that area, and the maintenance of
discipline over gang members from that area.

5. The division of control of custody facilities and
neighborhoods is generally agreed upon by the members of the Mexican
Mafia, although there are occasionally disputes among members as to
the division. Once a Mexican Mafia member acquires control of a
custody facility or neighborhood, he can generally operate that
custody facility or neighborhood without interference from other

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members. The Mexican Mafia member in control of a custody facility
or neighborhood will put together a team of trusted associates to
control the custody facility or neighborhood.

6. The Mexican Mafia is split into two major subgroups,
“State” and “Federal.” A State Mexican Mafia member can control
state prisons, southern California jails, and southern California
neighborhoods, but generally not federal facilities. A Federal
Mexican Mafia member can control federal facilities anywhere in the
country, and southern California neighborhoods, but usually cannot
control a state prison or a county jail.

7. To become a Mexican Mafia member, a Hispanic gang member
generally must have a distinguished reputation for “putting in work”
on behalf of the Mexican Mafia, meaning the gang member has murdered
or assaulted enemies and rivals of Mexican Mafia members.

Prospective members are also expected to have provided financial
assistance to Mexican Mafia members, and to have followed the Mexican
Mafia rules that govern the streets or correctional institutions.

8B. Mexican Mafia members carry out their criminal activity
with the help of associates. Some of these trusted associates act as
“shot-callers,” that is, high-level associates who have been given
the authority to conduct affairs of the Mexican Mafia, such as
collecting extortion and drug money and enforcing discipline in their
particular areas of control. A “facilitator” is the highest level
shot-caller and works directly under the authority of the Mexican
Mafia member who appointed him. The facilitator coordinates the
activities of the other shot-callers and is responsible for ensuring

that other shot-callers carry out the Mexican Mafia member’s orders

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in their area of responsibility, whether in a neighborhood or a
custody facility.

9. Members of Hispanic street gangs in southern California are
referred to as “Surenos” and fall under the control of the Mexican
Mafia. “Surenos” may also be referred to as “Southsiders.”
Additionally, the Mexican Mafia considers Mexican nationals, referred
to as “Paisas,” and Hispanic-American citizens who are not members of
a gang, generally referred to as “Residents,” to fall under the
Mexican Mafia’s control while in a custody facility, and trusted
Residents and Paisas may participate in or be given shot-caller
positions in Mexican Mafia affairs.

10. Members and associates of ‘street gangs controlled by and/or
affiliated with the Mexican Mafia must pay “taxes” to members and
associates of the Mexican Mafia for permission to maintain control
over their territories in order to distribute drugs and engage in
other criminal activity. This system of “taxation” amounts to
widespread extortion. These “taxes” also ensure the protection of
the gang’s members once they enter prisons or jails. The “taxing”
and control applies to activities both in and out of jail or prison.
Indeed, a jail or prison, or a floor, yard, or other unit of a jail
or prison is considered by the Mexican Mafia to be territory just as
much as a neighborhood.

11. Surenos, whether in a custody facility or ina
neighborhood, operate as soldiers or workers for the Mexican Mafia.
Tndeed, being loyal to the Mexican Mafia is an integral part of being
a southern California Hispanic street gang member, and it is openly
understood that when individuals join such gangs that they are
joining an entity loyal to the Mexican Mafia. Members of such gangs

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are expected to, and are proud to, carry out the orders of the
Mexican Mafia member in control of their neighborhood or custody
facility, because doing work for the Mexican Mafia increases the gang
member’s status and reputation. Some gangs proudly include in their
name the number “13,” denoting the letter M, or “eme” in Spanish, in
order to demonstrate the gang’s loyalty and allegiance to the Mexican
Mafia.

B. THE MEXICAN MAFIA’S ORGANIZATION WITHIN THE LOS ANGELES COUNTY

JAIL SYSTEM

12. The Los Angeles County Jail System (“LACU” or “the System”)
is operated by the Los Angeles County Sheriff's Department (“LASD” )
and receives moneys from the United States Department of Homeland
Security and other federal agencies. The system includes various
men’s facilities including Men’s Central Jail (“MCU”), the Twin
Towers Correctional Facility (“Twin Towers”), the Inmate Reception
Center (“IRC”), the North County Correctional Facility (“NCCE”),
Pitchess Detention Center—North Facility (“Pitchess North”), Pitchess
Detention Center-—Fast Facility: (“Pitchess East”), and Pitchess
Detention Center-South Facility (“Pitchess South”). On any given
day, the System houses approximately 15,000 inmates.

13. At any time, one Mexican Mafia member may exercise control
over the entire LACJ system, or control of various facilities within
the System may be divided among different members of the Mexican
Mafia. The Mexican Mafia member in charge of an LACU custody
facility maintains control over the facility with the assistance of
trusted shot-callers, facilitators, and associates. These Mexican
Mafia members and associates, working together to control criminal
activity within LACJ, have become their own entity or enterprise and

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effectively function as an illegal government within LACJ custody

facilities (“the Mexican Mafia LACJ Enterprise”).

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COUNT ONE
[18 U.S.C. § 1962(d)]
1. Paragraphs 1 through 13 of the General Allegations are re-
alleged and incorporated by reference as if fully set forth herein.

A. THE RACKETEERING ENTERPRISE

 

2. At all times relevant to this Indictment, defendants JOSE
LANDA-RODRIGUEZ, also known as (“aka”) “Jose Rodriguez-Landa,” aka
“Jose Landa,” aka “Jose Rodriguez,” aka “Fox,” aka “Fox Tapia,” aka
“F-X,” aka “Alejandro Tapia,” aka “Cola Rojo,” aka “Red Tail,” aka
“Pops,” aka “Tio,” aka “The General,” aka “Taras,” aka “The Old Man,”
aka “The Animal,” aka “Old School” (“JOSE LANDA-RODRIGUEZ”), LUIS
VEGA, aka “Little One,” aka “L-1,” aka “Tito” (“LUTS VEGA’), GABRIEL
ZENDEJAS-CHAVEZ, aka “Corbatas” (“GABRIEL ZENDEJAS-CHAVEZ”), RAFAEL
LEMUS, aka “Bre,” aka “The Voice,” aka “La Voz” (“RAFAEL LEMUS”),
LUIS GARCIA, aka “Hefty,” aka “Grimm,” aka “H” (“LUIS GARCIA”),
ALVINO MUNOZ, aka “Bino,” aka “BY” (“ALVINO MUNOZ”), DANIEL CERVANTES,
aka “Maniac,” aka “J,” aka “Paisa Jose” (“DANIEL CERVANTES”), MIGUEL
CALDERON, aka “Big Speedy,” aka “Mickey” (“MIGUEL CALDERON”), ERNESTO
VARGAS, aka “Huero” aka “Huero Caballero,” aka ‘“Paisa Huero”
(“ERNESTO VARGAS”), MIGUEL RODRIGUEZ, aka “Rebel,” aka “Pee Wee,” aka
“RY” (“MIGUEL RODRIGUEZ”), GILBERT PARRA, aka “Droopy,” aka “Chavo”
(“GILBERT PARRA”), GERARDO TAPIA, aka “Jerry” (“GERARDO TAPIA’),
DONATO GONZALES, aka “Nato,” aka “Nasty,” aka “Debo,” aka “Ray”
(“DONATO GONZALES”), MIGUEL GARCIA, aka “Toro,” aka “Hulk,” aka “T,”
aka “Horns” (“MIGUEL GARCIA”), HECTOR DUARTE, aka “Lil Man,” aka
“Hecko” (“HECTOR DUARTE”), SAMANTHA RIVERA, aka “Sam,” aka “S”
(“SAMANTHA RIVERA”), MARK LANDEROS, aka “Smokey,” aka “Troy,” aka
“Hot” (“MARK LANDEROS”), JONATHAN VERDEJA, “Hardcore,” aka “Duke”

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(“JONATHAN VERDEJA”), CECILIA VIRGEN, aka “Cecilia DeLeon,” aka
“Sessy,” aka “Hazel,” aka “Gia,” aka “Sky,” aka “Hooker” (“CECILIA
VIRGEN”), LAUREEN GARCIA, aka “L” (“LAUREEN GARCIA”), NANCY DUARTE,
aka “Pink” (“NANCY DUARTE”), VALERIE TREJO, aka “Val” (“VALERIE
TREJO”), GENESSIS BLANCO, aka “Pink” (“GENESSIS BLANCO”), KELLY JO
BELL (“KELLY JO BELL”), JOSH FLORES, aka “Silent,” aka “Lo” (“JOSE
FLORES”), MARK LEVY, aka “Cloudy,” aka “C3” (“MARK LEVY”), VALENTIN
CORDOVA, aka “Teen” (“VALENTIN CORDOVA”), FRANKIE MEGORADO, aka
“Frankie Mejorado,” aka “Slick,” aka “Junior,” aka “Speedy” (“FRANKIE
MEGORADO”), JOSE OLEA, aka “Sniper” (“JOSE OLEA”), MANUEL JIMENEZ,
aka “Porky” (“MANUEL JIMENEZ”), ALAVARO LEYVA, aka “Flaco,” aka
“Trigger” (“ALAVARO LEYVA”), CHRIS FERREIRA, aka “Caveman” (“CHRIS
FERREIRA”), DAVID BERNARDINO, aka “Downer” (“DAVID BERNARDINO”),
ANDREW PINEDA, aka “Mighty,” aka “Shy Boy” (“ANDREW PINEDA”), ALONDRA
GOMEZ (“ALONDRA GOMEZ”), MIRIAM MEZA (“MIRIAM MEZA”), ANA MARTINEZ,
aka “Ana America,” aka “Bandit” (“ANA MARTINEZ”), ALVARO RUIZ, aka
“Roach” (“ALVARO RUIZ”), ADRIAN ARATZA, aka “Chemo” (“ADRIAN
ARAIZA”), GAIL PONCE, aka “Bashful” (“GAIL PONCE”), DIANA MARTINEZ,
aka “Devine” (“DIANA MARTINEZ”), MARLON CORNEJO, aka “Maniac”
(“MARLON CORNEJO”), ANGEL SANCHEZ, aka “Lil Triste” (“ANGEL
SANCHEZ”), JUAN REYES, aka “Cosmo” (“JUAN REYES”), RICHARD BAILEY,
aka “Spooks,” aka “Nigger Richard,” aka “Half and Half” (“RICHARD
BAILEY”), MICHAEL BENNETT, aka “Trish” (“MICHAEL BENNET”’), EDWIN
AYALA, aka “Happy” (“EDWIN AYALA”), DAVID VILLALOBOS, aka “Grumpy”
(“DAVID VILLALOBOS”), and DAVID DIAZ, aka “Stomps” (“DAVID DIAZ”),
and others known and unknown to the Grand Jury, were members and
associates of an organization engaged in, among other things, acts
involving murder, kidnapping, robbery, extortion, trafficking in

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controlled substances, witness tampering, money laundering, and
identity theft. At all relevant times, this organization,
hereinafter the “Mexican Mafia LACU Enterprise,” operated within the
Central District of California and elsewhere. The Mexican Mafia LACJ
Enterprise, including its leaders, members, and associates,
constitute an “enterprise,” as defined by Title 18, United States
Code, Section 1961(4), that is, a group of individuals associated in
fact, although not a legal entity, which is engaged in, and the
activities of which affect, interstate and foreign commerce. The
Mexican Mafia LACT Enterprise constitutes an ongoing organization
whose members function as a continuing unit for a common purpose of
achieving the objectives of the enterprise.

3. The Mexican Mafia LACT Enterprise operates for the benefit
of the Mexican Mafia member or members deemed by the Mexican Mafia to
be in control of LACJ. The Mexican Mafia LACJ Enterprise conducts
its activities within LACJ facilities and in some surrounding
neighborhoods by imposing the rules of the Mexican Mafia on inmates
within LACJ facilities and on members of predominantly Hispanic
street gangs. Using the methods of the Mexican Mafia, the Mexican
Mafia LACJ Enterprise carries out its goals of controlling drug
trafficking activities and the distribution of drug trafficking
proceeds, extortion, and the enforcement of Mexican Mafia rules both
inside and outside LACJ facilities.

4, The Mexican Mafia LACJ Enterprise operates to carry out the
goals and objectives of the Mexican Mafia within LACJ custody
facilities and in some surrounding neighborhoods, including by
directing and controlling drug trafficking activities and the
distribution of drug trafficking proceeds, extortion, as well as the

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enforcement of Mexican Mafia rules (which are used as a basis for
extortion), both inside and outside the LACJ custody facilities.
More specifically:

a. The Mexican Mafia LACJ Enterprise keeps track of
southern California Hispanic gang members through lists known as
“roll calls,” made to keep track of every Sureno in a particular
module or dorm, often including the inmate’s name, booking number,
next court date, gang, and/or moniker. This enables the Mexican
Mafia LACJ Enterprise to track down persons in bad standing, to
coordinate the movement of drugs and kites, to account for kitty
revenue, and other enterprise business.

b. Mexican Mafia LACJ Enterprise members and associates
in prisons or jails send instructions to local street gangs and other
Mexican Mafia members and associates, both inside and outside prison
and jail, via telephone calls, prison system e-mails, letters,
“kites” (which are notes smuggled by prisoners), “verbals” (passing a
particularly sensitive message verbally from inmate to inmate), and
by conveying messages through jail or prison visitors. Mexican Mafia
LACJ Enterprise members and associates generally use coded language
in order to conceal the true nature of their discussions with and
instructions to criminal associates. In order to pass on
instructions and information from prison and jail, Mexican Mafia LACJ
Enterprise members and associates generally rely on associates, often
female, known as “secretaries,” who communicate with incarcerated
Mexican Mafia members and associates and relay their instructions to
others. In addition, attorneys who are willing to assist in the
Mexican Mafia’s criminal activities are utilized by the Mexican Mafia
LACJ Enterprise to pass messages concerning these activities and to

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facilitate communication among its members and associates. These
attorneys are particularly valued by members of the Mexican Mafia
LACJ Enterprise because they provide a means to shield criminal
communications from law enforcement by providing the appearance of
attorney-client privilege and a veneer of legitimacy to their
criminal communications. Both secretaries and attorneys are treated
as respected criminal figures by members of street gangs controlled
by and/or affiliated with the Mexican Mafia LACJ Enterprise.

c. Another method of communication employed by the
Mexican Mafia LACJ Enterprise is telephone calls made with “burnout”
phones. Burnout phones are phones that use landline service opened
with stolen identities. The Mexican Mafia LACJU Enterprise uses
burnout phones to make collect calls from prisons and jails to
associates on the outside until the telephone company realizes the
account is fraudulent and shuts the line off.

d. The Mexican Mafia LACT Enterprise commonly extorts
money from gang members and associates who violate enterprise rules
and from those who want to engage in profitable activities in areas
controlled by the Mexican Mafia LACJ Enterprise. If the gang member
or associate does not pay the demanded sum, or has violated Mexican
Mafia or enterprise rules, a Mexican Mafia leader commonly will order
that the person be assaulted until that individual complies.
Alternatively, if the non-compliant individual refuses to pay, or if
the enterprise is not able to punish the individual, the Mexican
Mafia LACJ Enterprise may extort or punish family members, close
associates, members of that person’s gang, or others related to the
person. If a person or gang does not meet the Mexican Mafia LACJ

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Enterprise’s payment demands, they will be subjected to violence
until they comply.

e. One of the Mexican Mafia LACJ Enterprise’s most
effective ways of extorting or taxing gang members and other Hispanic
inmates in jail or prison is through the “kitty.” Once a week, in
every module of the Los Angeles County Jail system, inmates are
allowed to purchase items from the LASD-operated store or commissary.
These items include candy bars, soup, ramen noodles, shower shoes,
deodorant, baby powder, and other food and personal hygiene items.

In every jail module controlled by the Mexican Mafia LACJ Enterprise,
every Hispanic gang member, Paisa, or Resident is required to
contribute commissary items of a certain value (e.g., one dollar’s
worth of items) into the kitty for every set amount of items
purchased (e.g., fifteen dollars’ worth). The Mexican Mafia member
in control of the module sets the contribution rates for the kitty,
and the module shot-caller collects the commissary items and sells
them to a person in the module for a price that is also set by the
Mexican Mafia member. The payment for the kitty is made to a
secretary or facilitator outside of the facility, who forwards it to
the Mexican Mafia member who controls that facility.

f. The Mexican Mafia LACJ Enterprise also makes money by
controlling the sales of drugs. On the streets, profiting from drug
trafficking takes the form of “taxing” drug dealers. All drug
dealers in an area controlled by the Mexican Mafia LACJ Enterprise
must pay a percentage of their profits from the sale of drugs to the
enterprise. If the drug dealer does not pay, he will not be allowed
to sell drugs in that area, under threat of assault or even death.

If the drug dealer does pay the tax, the drug dealer benefits by
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receiving protection from other dealers or robbers and gains
assistance in collecting debts.

g. Inside of custody facilities, the taxing of drug
trafficking takes two forms. First, Mexican Mafia members, shot-
callers, and associates will arrange for drugs to be smuggled to them
inside the Los Angeles County Jail System. Once the Mexican Mafia
member or his trusted shot-caller or facilitator within a facility
receives the drugs, he will direct their sale within the Los Angeles
County Jail system with the proceeds benefiting the member in control
of that facility. Furthermore, others within the facility will not
be allowed to sell their own drugs until the Mexican Mafia member’s
drugs have been sold. Second, the Mexican Mafia’s control of drug
trafficking is maintained by collecting a “thirds” tax on all other
drugs that are smuggled into the Los Angeles County Jail system.
Pursuant to the thirds tax, one third of each shipment of drugs that
is smuggled into the Los Angeles County Jail system must be “broken-
off” and given to the Mexican Mafia member in control of the facility
or his trusted shot-caller or facilitator. If the Mexican Mafia
member decides to sell the “thirds-tax” portion of the drugs, they
are sent to a dorm or module for sale with the proceeds going to the
Mexican Mafia member, and others in the facility are not allowed to
sell drugs until the Mexican Mafia member’s thirds have been sold.

he The Mexican Mafia LACJ Enterprise does not limit its
extortion to the sale of drugs and the operation of the kitty. The
enterprise may subject any person or inmate in a Mexican Mafia LACJ
Enterprise controlled neighborhood, facility, or module to extortion
for any money-generating activity he or she engages in while in the
enterprise controlled territory.

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i. The Mexican Mafia LACJ Enterprise has self-imposed
rules handed down by the Mexican Mafia. These rules, referred to as
“reglas,” are imposed to maintain fear and compliance among Surenos.
Because these rules provide a basis for being fined as well as
assaulted, they are a key part of the Mexican Mafia LACJ Enterprise’s
extortion scheme. If a southern California Hispanic gang member
should break one of these rules, discipline is imposed by a
facilitator, shot-caller, or secretary of the Mexican Mafia member in
control of the facility. Such discipline is frequently imposed in
the form of a fine or an assault. Assaults are often referred to as
“13 Seconds,” “26 Seconds,” or “39 Seconds.” The premise underlying
these punishments is that a person who breaks an enterprise rule
should be punished by beatings for either 13 seconds, or for a
multiple of 13 seconds. Thirteen seconds is a less severe form of
punishment that usually involves two individuals assaulting the
offender for thirteen seconds. Thirty-nine seconds is a more severe
form of punishment that involves three (or in some cases more)
individuals assaulting the offender for 39. Thirty-nine seconds can
have different variations. For example, thirty-nine seconds could be
issued in the form of three 13-second assaults on the same day
(sometimes referred to as “breakfast, lunch, and dinner”) or it could
be one 39-second assault. A 39-second punishment where three
individuals assault an offender for 39 consecutive seconds is also
commonly referred to as a “smash out” because the offender is usually
moved out of the area after the assault for his own safety by prison
or jail personnel. Finally, “sopas,” the Spanish word for “soups,”
is another common term for an assault.

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5. One of the most important rules for which discipline
may be imposed by the Mexican Mafia LACJ Enterprise is a prohibition
on cooperating with law enforcement.

k. Another important rule of the Mexican Mafia that is
enforced within the Mexican Mafia LACU Enterprise is that any inmate
who is in custody for a sex offense is to be assaulted on sight.
After the sex offender is assaulted, the Mexican Mafia then extorts
payment from the sex offender in exchange for the Mexican Mafia’s
agreement that there will be no further assaults.

1. The most serious form of discipline is being put on
the “green light list” or being “greenlighted.” Being placed on the
green light list means that every Sureno is obligated to severely
assault the person, even if death is likely to result. Only
true/full members of the Mexican Mafia can put a person, group, or
entire gang on the green light list. Those who are put on a green
light list can be removed by the payment of a hefty fine.

B. PURPOSES OF THER ENTERPRISE

 

5. The purposes of the Mexican Mafia LACJ Enterprise include,

but are not limited to, the following:
a. Enriching members and associates of the Mexican Mafia

LACJ Enterprise through, among other things, the control of and
participation in the distribution of controlled substances both
within LACJ and in Mexican Mafia~controlled territories outside of
LACJ, extortion of others engaged in the distribution of controlled
substances and other crimes within and outside of LACS, and extortion
of inmates within LACJ.
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b. Maintaining control and authority over LACJ, often
through threats, intimidation, and acts of violence against LACJ
inmates. |

c. Maintaining control and authority over LACJ in order
to maintain general Mexican Mafia discipline and to ensure that the
rules and orders are obeyed.

d. Promoting and enhancing the Mexican Mafia LACJ
Enterprise’s members and associates and their activities.

e. Punishing Mexican Mafia members and associates who do
not comply with the rules and orders of the Mexican Mafia in general,
including and especially those who cooperate with law enforcement.

Cc. MEANS AND METHODS OF THE ENTERPRISE

 

6. The means and methods by which the defendants and their
associates conduct and participate in the conduct of the affairs of
the Mexican Mafia LACT Enterprise include the following:

a. Engaging in drug trafficking, including the smuggling
of controlled substances into LACJ, as a means to generate income.

b. Engaging in extortion, including the operation of the
kitty within LACJ, and including fines for violations of Mexican
Mafia rules, as a means to generate income.

c. Working together to collect a portion of the proceeds
of drug trafficking conducted by others both outside of LACJ and
inside of LACJ, such as through the thirds tax, as a means to
generate income.

d. Committing, attempting to commit, and threatening to
commit acts of violence to protect and expand the enterprise’s
criminal operation, including assaults, murders, acts of
intimidation, and threats of violence directed against rival gang

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members, witnesses to the Mexican Mafia LACJ Enterprise’s criminal
conduct, and Mexican Mafia members and associates who do not follow
the rules and orders of the Mexican Mafia in general.

e. Promoting a climate of fear, particularly among rival
gang members, potential witnesses to the enterprise’s criminal
conduct, Hispanic gang members, Paisas, or others who may cooperate
with law enforcement within LACJ and throughout southern California,
through acts of violence and threats to commit acts of violence.

f. Engaging in the aforementioned criminal activity in
the presence of other Mexican Mafia LACJ Enterprise members or
associates in order to enhance the status of those affirmatively
conducting the criminal acts, and committing the aforementioned
criminal activity for the purpose of earning the respect of Mexican
Mafia LACJ Enterprise members in the hope of achieving higher status.

g. In the case of more senior members of the Mexican
Mafia LACU Enterprise and their designated assistants, including
secretaries, shot-callers, and facilitators, providing instructions
to junior members and associates regarding distribution of controlled
substances, including smuggling controlled substances into LACJ,
collection of drug and extortion proceeds, commission of acts of
violence, commission of fraud and identity theft, and providing
verification that such crimes have occurred.

h. In the case of more junior members and associates of
the Mexican Mafia LACJ Enterprise, engaging in the smuggling of
controlled substances into LACJ, carrying out assaults in LACJ and
elsewhere, and committing fraud and identity theft, all on the orders
of more senior members and associates.

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D. OBJECT OF THE CONSPIRACY

 

7. Beginning on a date unknown, and continuing to the date of
this Indictment, in Los Angeles and San Bernardino Counties, within
the Central District of California, and elsewhere, defendants JOSE
LANDA-RODRIGUEZ, LUIS VEGA, GABRIEL ZENDEJAS-CHAVEZ,, RAFARL LEMUS,
LUIS GARCIA, ALVINO MUNOZ, DANIEL CERVANTES, MIGUEL CALDERON, ERNESTO
VARGAS, MIGUEL RODRIGUEZ, GILBERT PARRA, GERARDO TAPIA, DONATO .
GONZALES, MIGUEL GARCIA, HECTOR DUARTE, SAMANTHA RIVERA, MARK
LANDEROS, JONATHAN VERDEJA, CECILIA VIRGEN, LAUREEN GARCIA, NANCY
DUARTE, VALERIE TREJO, GENESSIS BLANCO, KELLY JO BELL, JOSE FLORES,
MARK LEVY, VALENTIN CORDOVA, FRANKIE MEGORADO, JOSE OLEA, MANUEL
JIMENEZ, ALAVARO LEYVA, CHRIS FERREIRA, DAVID BERNARDINO, ANDREW
PINEDA, ALONDRA GOMEZ, MIRIAM MEZA, ANA MARTINEZ, ALVARO RUIZ, ADRIAN
ARATZA, GAIL PONCE, DIANA MARTINEZ, MARLON CORNEJO, ANGEL SANCHEZ,
JUAN REYES, RICHARD BAILEY, MICHAEL BENNETT, EDWIN AYALA, DAVID
VILLALOBOS, and DAVID DIAZ, and others known and unknown to the Grand
Jury, being persons employed by and associated with the Mexican Mafia
LACJ Enterprise, an enterprise which was engaged in, and the
activities of which affected, interstate and foreign commerce,
knowingly and intentionally conspired to violate Title 18, United
States Code, Section 1962(c), that is, to conduct and participate,
directly and indirectly, in the conduct of the affairs of that
enterprise through a pattern of racketeering activity, as that term
is defined in Title 18, United States Code, Sections 1961(1) and
1961(5), consisting of:

multiple acts involving:

a. Murder, in violation of California Penal Code Sections
21a, 31, 182, 187, 189, and 664;

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b. Kidnapping, in violation of California Penal Code
Sections 21a, 31, 182, 207, 209, and 664;

Cc. Robbery, in violation of California Penal Code
Sections 2la, 31, 182, 211, 212, 212.5, 213, 215, and 664;

d. Extortion, in violation of California Penal Code
Sections 21a, 31, 182, 518, 519, 524, and 664;

multiple offenses involving:

e. the distribution of, possession with intent to
distribute, and conspiracy to possess with intent to distribute and
distribute controlled substances, including methamphetamine, heroin,
cocaine, cocaine base, and marijuana, in violation of Title 21,
United States Code, Sections 841(a) (1) and 846;

and multiple acts indictable under the following provisions of
federal law:
_£. Title 18, United States Code, Section 1512, Tampering
with a Witness;

g. Title 18, United States Code, Section 1513,
Retaliating against a witness;

h. Title 18, United States Code, Sections 1956 and 1957,
Money Laundering;

i. Title 18, United States Code, Section 1028, Identity
Fraud; and

5. Title 18, United States Code, Section 1029, Access
Device Fraud.

8. It was a further part of the conspiracy that each defendant
agreed that a conspirator would commit at least two acts of
racketeering in the conduct of the affairs of the enterprise.

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BE. MEANS BY WHICH THE OBJECT OF THR CONSPIRACY WAS TO BE
ACCOMPLISHED
9. The object of the conspiracy was to be accomplished, in

substance, as follows:

a. Defendants JOSE LANDA-RODRIGUEZ and LUIS VEGA and
deceased Mexican Mafia member 1 (“DMM-1”) and deceased Mexican Mafia
member 2 (“DMM-2”), as full members of the Mexican Mafia, would have
the right to control and collect criminal proceeds, including
proceeds from extortion and the sale of controlled substances, from
neighborhoods or correctional facilities.

i. DMM-1 would control the Los Angeles County Jail
System from around October 2007 until his death on June 20, 2013.

ii. Defendant JOSE LANDA-RODRIGUEZ would control the
Los Angeles County Jail System from on or about June 20, 2013, until
at least January 26, 2016, except that he would cede control of NCCF
to DMM-2, on or about July 6, 2014.

iii. Defendant LUIS VEGA would carry out Mexican Mafia
business within the Los Angeles County Jail System with the blessing
of DMM-1 from around July 2012 until the death of DMM-1 on June 20,
2013.

iv. DMM-2 would control NCCF from July 6, 2014,
through his death in June 2016.

b. Defendants GABRIEL ZENDEJAS-CHAVEZ, RAFAEL LEMUS, LUIS
GARCIA, ALVINO MUNOZ, DANIEL CERVANTES, MIGUEL CALDERON, ERNESTO
VARGAS, MIGUEL RODRIGUEZ, GILBERT PARRA, GERARDO TAPTA, and DONATO
GONZALES, and unindicted co-conspirator 1 (“UICC-1”), would act as
facilitators for one or more full members of the Mexican Mafia who
was also a member of the Mexican Mafia LACU Enterprise and would act

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with the authority of that Mexican Mafia LACJ Enterprise member in
directing the criminal activities of the Mexican Mafia LACJ
Enterprise, including extortion and the sale of controlled
substances.

i. UICC-1 would carry out the orders of DMM-1 within
the Los Angeles County Jail System from about July 2012 through on or
about June 20, 2013.

ii. UICC-1 would carry out the orders of defendant
JOSE LANDA-RODRIGUEZ within the Los Angeles County Jail System from
on or about June 20, 2013, through on or about November 5, 2013.

iii. Defendant GABRIEL ZENDEJAS-CHAVEZ, from outside
the Los Angeles County Jail System, would use his position as an
attorney to assist defendants JOSE LANDA-RODRIGUEZ and LUIS GARCIA,
DMM-2, and other co-conspirators, with activities inside and outside
the Los Angeles County Jail system.

iv. Defendant RAFAEL LEMUS, from outside the Los
Angeles County Jail system, would work for and carry out the orders
for DMM-2, including collecting drug proceeds, fines, and kitty
extortion from NCCF from on or before February 4, 2014, through
November 22, 2015.

Vv. Defendant LUIS GARCIA, from inside the Los
Angeles County Jail System, would work for and carry out the orders
of defendant JOSE LANDA-RODRIGUEZ from on or about November 5, 2013,
through on or about May 28, 2014.

vi. Defendant ALVINO MUNOZ, from both inside and
outside the Los Angeles County Jail System, would work for and carry
out the orders of defendant JOSE LANDA-RODRIGUEZ from about April
2015 through at least July 2015.

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vii. Defendant DANIEL CERVANTES, from outside the Los
Angeles County Jail System, would work for and carry out the orders
of DMM-1 from on or about October 22, 2012, through on or about May
10, 2013.

viii. Defendant MIGUEL CALDERON, from outside the
Los Angeles County Jail System, would work to direct activities
within NCCF, MCJ, and Twin Towers on behalf of defendant JOSE LANDA-
RODRIGUEZ from on or about June 20, 2013, through on or about June
30, 2013.

ix. Defendant ERNESTO VARGAS, from outside the Los
Angeles County Jail System, would work to direct activities within
NCCF on behalf of defendant JOSE LANDA-RODRIGUEZ from on or about
October 1, 2013, through on or about July 6, 2014.

X. Defendant MIGUEL RODRIGUEZ, from outside the Los
Angeles County Jail System, would work to direct activities within
NCCF on behalf of DMM-2, from on or about July 6, 2014, until on or
about October 23, 2014.

xi. Defendant GILBERT PARRA, from both inside and
outside the Los Angeles County Jail System, would direct the
activities within NCCF on behalf of defendant JOSE LANDA-RODRIGUEZ
from on or about October 10, 2013, to on or about December 26, 2013.

xii. Defendant GERARDO TAPIA, from outside the Los
Angeles County Jail System, would direct drug trafficking activities
outside the Los Angeles County Jail System on behalf of DMM-2 from on
or about April 18, 2014, through on or about May 9, 2014.

xiii. Defendant DONATO GONZALEZ, from both inside
and outside the Los Angeles County Jail System, would direct
activities within and outside the Los Angeles County Jail System on

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behalf of DMM-2 from on or about April 18, 2014, through on or about
May 9, 2014.

Cc. Defendants MIGUEL GARCIA, HECTOR DUARTE, SAMANTHA
RIVERA, MARK LANDEROS, and JONATHAN VERDEJA, and unindicted co-
conspirator 2 (“UICC-2"), unindicted co-conspirator 3 (“UICC-3”)
unindicted co-conspirator 4 (“UICC-4”), and unindicted co~conspirator
5 (“urce-5”), would act as facilitators for one or more full members
of the Mexican Mafia, and would carry out specific orders related to
the criminal activities of the Mexican Mafia LACJ Enterprise,
including extortion and the sale of controlled substances, in
specific locations, including LACJ.

i. UICC-3, from inside the Los Angeles County Jail
System, would direct activities at MCJ and Twin Towers on behalf of
DMM-1 from on or about December 18, 2012, through’on or about June
20, 2013.

ii. Defendant MIGUEL GARCIA, from inside the Los
Angeles County Jail System, would direct activities at NCCF on behalf
of DMM-1 from on or about April 5, 2013, through on or about April
12, 2013.

iii. Unindicted co-conspirator 9 (“UICC-9”), from
inside the Los Angeles County Jail System, would direct activities at
MCJ and Twin Towers on behalf of defendant JOSE LANDA-RODRIGUEZ from
on or about June 23, 2013, through on or about July 3, 2013.

iv. Defendant HECTOR DUARTE, from inside the Los
Angeles County Jail System, would direct activities at NCCF on behalf
of DMM-2 from on or about July 6, 2014, through on or about November
10, 2014.

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Vi Defendant SAMANTHA RIVERA, from outside the Los
Angeles County Jail System, would coordinate defendant JOSE LANDA-
RODRIGUEZ’ S dealings with other Mexican Mafia members from on or
about June 20, 2013, through on or about December 18, 2015.

vi. Defendant MARK LANDEROS, from inside the Los
Angeles County Jail System, would direct activities at MCJ and Twin
Towers on behalf of defendant JOSE LANDA-RODRIGUEZ, from on or about
July 24, 2013, through on or about June 5, 2014.

vii. Defendant JONATHAN VERDEJA, from inside the Los
Angeles County Jail System, would direct activities at NCCF on behalf
of defendant JOSE LANDA-RODRIGUEZ from on or about October 16, 2013,
through on or about December 26, 2013.

viii. UICC-2, from inside the Los Angeles County
Jail System, would direct activities at MCJ and Twin Towers on behalf
of defendant JOSE LANDA-RODRIGUEZ.

ix. UICC-4, from inside the Los Angeles County Jail
System, would direct activities at NCCF on behalf of defendant JOSE
LANDA-RODRIGUEZ from on or about June 20, 2013, through on or about
June 30, 2013.

x. ULCC-5, from outside LACJ, would direct
activities at NCCF on behalf of DMM-2, from on or about August 22,
2015, through June 4, 2016.

d. Defendants CECILIA VIRGEN, LAUREEN GARCIA, NANCY

DUARTE, VALERIE TREJO, GENESSIS BLANCO, and KELLY JO BELL, and UICC-
6, would act as secretaries for high-level Mexican Mafia LACJ
Enterprise associates, passing messages regarding, facilitating
communication about, and keeping records of the criminal activities

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of the Mexican Mafia LACJ Enterprise, including extortion and the
sale of controlled substances.

i. Defendant CECILIA VIRGEN would act as the
secretary for defendant DANIEL CERVANTES for activities inside the
Los Angeles County Jail System from on or about December 18, 2012,
through on or about May 22, 2013.

ii. Defendant LAUREEN GARCIA would act as the
secretary for defendant ERNESTO VARGAS for activities inside NCCF
from on or about October 1, 2013, through on or about November 1,
2013.

iii. Defendant NANCY DUARTE would act as the secretary
for defendant HECTOR DUARTE for activities at NCCF from on or about
July 6, 2014, through on or about October 23, 2014.

iv. Defendant VALERIE TREJO would act as the
secretary for UICC-3 for activities at MCJ and Twin Towers from on or
about February 2013, through on or about June 20, 2013.

Vv. Defendant KELLY JO BELL would act as a secretary
for defendant ALVINO MUNOZ from August 19, 2015, through October 14,
2015.

vi. Defendants GENESSIS BLANCO would act as a
secretary for DMM-2 and UICC-6 for activities inside NCCF from on or
about August 22, 2015, through on or about October 23, 2015.

vii. UICC-6 would act as a secretary for defendant

‘MARK LANDEROS in January 2016.

e. Unindicted co-conspirator 7 (“UICC-7”) would carry out
the orders of DMM-1, UICC-1, and UICC-3 to control Twin Towers from
on or about July 17, 2012, through on or about June 20, 2013.

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f. Defendants JOSE FLORES, MARK LEVY, VALENTIN CORDOVA,
FRANKIE MEGORADO, JOSE OLEA, MANUEL JIMENEZ, ALAVARO LEYVA, CHRIS
FERREIRA, MIGUEL GARCIA, DAVID BERNARDINO, and ANDREW PINEDA, and
unindicted co-conspirators Robert Ramirez, UICC-4, unindicted co-
conspirator 8 (“UICC-8”), unindicted co-conspirator 10 (“UICC-10”),
unindicted co-conspirator 11 (“UICC-11”), and unindicted co-
conspirator 12 (“UICC-12”), would carry out the orders of the Mexican
Mafia LACJ Enterprise within specific portions of the Los Angeles
County Jail System, thereby facilitating the criminal activities of
the Mexican Mafia LACJ Enterprise, including extortion and the sale
of controlled substances.

i. Defendant JOSE FLORES would carry out the orders
of defendant CECILIA VIRGEN in NCCF from on or about December 19,
2012, through on or about January 22, 2013.

ii. UICC-8 would carry out the orders of defendant
CECILTA VIRGEN inside NCCF from on or about October 26, 2012, through
on or about December 28, 2012.

iii. Defendant MARK LEVY would carry out the orders of
defendant CECILIA VIRGEN inside NCCF from on or about February 10,
2013, through on or about February 13, 2013.

iv. Defendant VALENTIN CORDOVA would carry out the
orders of defendant CECILIA VIRGEN inside NCCF from on or about April
2, 2013, through on or about May 20, 2013.

Vv. UICC-11 would carry out the orders of defendant
CECILIA VIRGEN inside NCCF from on or about March 25, 2013, through
on or about May 23, 2013.

vi. Defendant FRANKIE MEGORADO would carry out the
orders of defendant CECILIA VIRGEN inside NCCF from on or about April

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6, 2013, through on or about May 22, 2013, and would carry out the
orders of defendant LAUREEN GARCIA inside NCCF from on or about May
23, 2013, through October 5, 2013.

vii. Defendant JOSE OLEA would carry out the orders of
defendant CECILIA VIRGEN inside NCCF from on or about April 7, 2013,
through on or about April 13, 2013.

viii. UICC-10 would carry out the orders of UICC-3
inside MCJ and Twin Towers from on or about December 30, 2012,
through on or about May 30, 2013.

ix. UrIcc-4 would carry out the orders of defendant
MIGUEL CALDERON inside NCCF from on or about June 20, 2013, through
on or about June 30, 2013.

x. Defendant MANUEL JIMENEZ would carry out the
orders of defendant LAUREEN GARCIA inside NCCF from on or about
October 1, 2013, through on or about November 1, 2013.

xi. Defendant ALAVARO LEYVA would carry out the
orders of defendant LAUREEN GARCIA inside NCCF from on or about
October 2, 2013, through on or about October 5, 2013.

xii. Defendant CHRIS FERREIRA would carry out the
orders of defendant NANCY DUARTE inside NCCF from on or about July 6,
2014, through on or about July 25, 2014.

xiii. Defendant MIGUEL GARCIA would carry out the
orders of defendant ERNESTO VARGAS inside NCCF from on or about
September 24, 2013, through on or about October 21, 2013.

xiv. Defendant DAVID BERNARDINO would carry out the
orders of defendant NANCY DUARTE inside NCCF from at least no later
than September 1, 2014 through at least no earlier than September 6,
2014.

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xv. Defendant ANDREW PINEDA would carry out the
orders of defendant GENESSIS BLANCO inside NCCF from on or about
August 22, 2015, through on or about October 23, 2015.

xvi. Unindicted co-conspirator Robert Ramirez would
carry out the orders of defendant KELLY JO BELL at MCJ from on or
about August 19, 2015, through on or about October 14, 2015.

xvii. UICC-12 would carry out the orders of
defendant MARK LANDEROS in MCJ in January 2016.

g. Defendants ALONDRA GOMEZ, MIRIAM MEZA, ANA MARTINEZ,
ALVARO RUIZ, ADRIAN ARAIZA, GAIL PONCE, and DIANA MARTINEZ, and
unindicted co-conspirators Kristen Ayala, unindicted co-conspirator
14 (“UICC-14"), unindicted co-conspirator 15 (“UICC-15"), and
unindicted co-conspirator 16 (“UICC-16”), would assist Mexican Mafia
LACJ Enterprise members and associates in directing activities inside
and outside the Los Angeles County Jail System, thereby facilitating
the criminal activities of the Mexican Mafia LACJ Enterprise,
including extortion and the sale of controlled substances.

i. Defendant ALONDRA GOMEZ would assist defendant
DANIEL CERVANTES in collecting and laundering the proceeds of Mexican
Mafia LACJ Enterprise activities.

ii. UICC-14 would pass DMM-1’s directions regarding
the collection and laundering of the proceeds of Mexican Mafia LACT
Enterprise activities to defendant DANIEL CERVANTES.

iii. Defendant MIRIAM MEZA would assist UICC-3 and
defendant CECILIA VIRGEN in collecting proceeds of Mexican Mafia LACJ
Enterprise activities.

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iv. Defendant ANA MARTINEZ would assist UICC-10 by
obtaining “burnout” phones, arranging the smuggling of drugs into the
Los Angeles County Jail System, and collecting money for UICC-3.

v. Unindicted co-conspirator Kristen Ayala would
assist defendant MARK LANDEROS in smuggling drugs into the Los
Angeles County Jail System.

vi. Defendant ALVARO RUIZ would assist defendant
DONATO GONZALES by organizing shipments of drugs into the Los Angeles
County Jail System, and would assist defendant JOSE LANDA-RODRIGUE4
by passing messages.

vii. Defendant ADRIAN ARAITZA would assist defendant
DANTEL CERVANTES by providing drugs to be smuggled into the Los
Angeles County Jail System.

viii. UICC-15 would assist UICC-3 by moving the
kitty money from defendant ANGEL SANCHEZ’s inmate trust account to
defendant VALERIE TREJO.

ix. Defendant GAIL PONCE would pass defendant HECTOR
DUARTE’ s orders to defendant DAVID BERNARDINO.

x. . UICC-16 would pass messages to and from UICC-12.

xi. Defendant DIANA MARTINEZ would assist defendant
GERARDO TAPIA in trafficking controlled substances, and in carrying
out orders to commit acts of violence on behalf. of Mexican Mafia LACJ
Enterprise members.

h. Defendants MARLON CORNEJO, JUAN REYES, RICHARD BATLEY,
MICHAEL, BENNETT, EDWIN AYALA, DAVID VILLALOBOS, DAVID DIAZ, ANGEL
SANCHEZ, VALERIE TREJO, KELLY JO BELL, MARK LANDEROS, LUIS GARCIA,
ANA MARTINEZ, and others known and unknown to the Grand Jury, would
carry out the orders and business of the Mexican Mafia LACJ

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Enterprise in furtherance of its criminal activities, including
extortion and the sale of controlled substances.

i. Defendants MARK LANDEROS, LUIS GARCIA, DAVID
VILLALOBOS, and DAVID DIAZ, and others known and unknown to the Grand
Jury would engage in acts of violence inside the Los Angeles County
Jail System to enforce Mexican Mafia rules and discipline, to collect
debts on behalf of the Mexican Mafia LACJ Enterprise, including
proceeds from the sale of controlled substances, and to extort on
behalf of the Mexican Mafia LACJ Enterprise.

ii. Defendants RICHARD BAILEY, VALERIE TREJO, KELLY
JO BELL, and ANA MARTINEZ and others known and unknown to the grand
jury would assist in the smuggling of drugs into the Los Angeles
County Jail System.

iii. Unindicted co-conspirators known and unknown to
the Grand Jury would smuggle drugs into the Los Angeles County Jail
System.

iv. Defendants MARLON CORNEJO, JUAN REYES, MICHAEL
BENNETT, EDWIN AYALA, and others known and unknown to the grand jury
would smuggle drugs within the Los Angeles County Jail System.

Vv. Defendants MARLON CORNEJO, JUAN REYES, MICHAEL
BENNETT, EDWIN AYALA, and others known and unknown to the grand jury
would smuggle written communications within the Los Angeles County
Jail System.

vi. Defendant ANGEL SANCHEZ would allow his inmate
trust account to be used to move and launder Mexican Mafia LACJ
Enterprise proceeds.

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F. OVERT ACTS

10. In furtherance of the conspiracy and to accomplish its
object, on or about the following dates, defendants JOSE LANDA-
RODRIGUEZ, LUIS VEGA, GABRIEL ZENDEJAS-CHAVEZ, RAFARL LEMUS, LUIS
GARCIA, ALVINO MUNOZ, DANIEL CERVANTES, MIGUEL CALDERON, ERNESTO
VARGAS, MIGUEL RODRIGUEZ, GILBERT PARRA, GERARDO TAPIA, DONATO
GONZALES, MIGUEL GARCIA, HECTOR DUARTE, SAMANTHA RIVERA, MARK
LANDEROS, JONATHAN VERDEJA, CECILIA VIRGEN, LAUREEN GARCIA, NANCY
DUARTE, VALERIE TREJO, GENESSIS BLANCO, KELLY JO BELL, JOSE FLORES,
MARK LEVY, VALENTIN CORDOVA, FRANKIE MEGORADO, JOSE OLEA, MANUEL
JIMENEZ, ALAVARO LEYVA, CHRIS FERREIRA, DAVID BERNARDINO, ANDREW
PINEDA, ALONDRA GOMEZ, MIRIAM MEZA, ANA MARTINEZ, ALVARO RUIZ, ADRIAN
ARAIZA, GAIL PONCE, DIANA MARTINEZ, MARLON CORNEJO, ANGEL SANCHEZ,
JUAN REYES, RICHARD BAILEY, MICHAEL BENNETT, EDWIN AYALA, DAVID
VILLALOBOS, and DAVID DIAZ, and others known and unknown to the Grand
Jury, committed various overt acts within the Central District of
California, and elsewhere, including, but not limited to, the
following:
Orders to Assault or Kill Persons in Violation of Mexican Mafia Rules

and to Collect Taxes in LACJ

 

Overt Act No. 1: On or before July 17, 2012, defendant LUIS
VEGA, in a handwritten kite, ordered unindicted co-conspirator 17
(“UICC-17”) to make sure that J.L. would be assaulted for falsely
claiming to have authority within the Mexican Mafia.

Overt Act No. 2: On or before July 17, 2012, defendant LUIS
VEGA, in a handwritten “kite,” ordered UICC-17 to ensure that a
disrespectful Sureno would be stabbed 13 times as discipline for
disrespecting Mexican Mafia member defendant LUIS VEGA.

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Overt Act No. 3: On or before July 17, 2012, defendant LUIS
VEGA ordered UICC-17 to collect the thirds tax from a Sureno known as
‘“Cyco.”

Appointment of Humberto Miranda to Run Mexican Mafia LACJ Enterprise
Business within Twin Towers, Including Collection of Extortion
Proceeds

Overt Act No. 4: On or before July 17, 2012, defendant LUIS
VEGA ordered that UICC-7 run Twin Towers, including the collection of
the “kitty,” the collection of the thirds tax, and the collection of
fines.

Overt Act No. 5: From July 17, 2012, through January 19,
2013, UICC-7 ran Twin Towers, including the collection of kitty
money, the collection of the thirds tax, and the collection of fines.

Overt Act No. 6: Prior to January 2, 2013, UICC-7 ordered
that a Sureno known as “Rooster” be assaulted for losing previous
kites intended for UICC-7.

Smuggling and Possession of Cocaine and Methamphetamine within LACJ

and Collection of the Thirds Tax

 

Overt Act No. 7: On or before September 10, 2012, JU.M.
possessed and distributed cocaine and methamphetamine within MCJ.

Overt Act No. 8: On or before September 10, 2012, J.M. paid
his thirds tax on the cocaine and methamphetamine to UICC-1.

Overt Act No. 9: On September 10, 2012, defendant MARLON
CORNEJO possessed J.M.’s thirds tax, consisting of approximately 2.25
grams of cocaine and .09 grams of methamphetamine, in order to give
it to Ufcc-1.

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Overt Act No. 10: On September 10, 2012, J.M. possessed
approximately .15 grams of cocaine within LACJ with intent to
distribute.

Laundering of Money: from LACJ

 

Overt Act No. 11: From August 22, 2012, through at least May
9, 2013, defendant ALONDRA GOMEZ opened and maintained a post office
box for the purpose of collecting payments from Mexican Mafia LACJ
Enterprise activities.

Overt Act No. 12: On October 22, 2012, defendant DANIEL
CERVANTES met with a person he believed to be a criminal associate,
but who was actually an undercover agent from Homeland Security
Investigations (the “HSI UC”), to launder the proceeds of Mexican
Mafia LACJ Enterprise activities.

Overt Act No. 13: On October 22, 2012, defendant DANIEL
CERVANTES gave $9,239 in money orders representing proceeds of
Mexican Mafia LACJ Enterprise activities to the HSI UC for the HSI UC
to launder by negotiating the money orders in exchange

Overt Act No. 14: On October 22, 2012, defendant DANIEL
CERVANTES received from the HSI UC approximately $8,315 in cash
representing the proceeds from the negotiation of the money orders.

Laundering of Money from LACJ

 

Overt Act No. 15: On November 5, 2012, defendant DANIEL
CERVANTES met with the HSI UC and gave approximately $11,032 in money
orders representing proceeds of Mexican Mafia LACJ Enterprise
activities to the HSI UC for the HSI UC to launder by negotiating the
money orders in exchange for a fee.

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Overt Act No. 16: On November 6, 2012, defendant DANIEL
CERVANTES received from the HSI UC approximately $9,928 in cash
representing the proceeds from the negotiation of the money orders.
Assault of R.G. for Interfering with Drug Trafficking

Overt Act No. 17: Prior to December 6, 2012, defendant CECILIA
VIRGEN ordered defendant JOSE FLORES to have R.G. assaulted for
violating Mexican Mafia rules by opening drugs that belonged to the
Mexican Mafia LACJ Enterprise without authorization.

Overt Act No. 18: On or before December 6, 2012, defendant
JOSE FLORES ordered that R.G. be assaulted for violating Mexican
Mafia rules by opening drugs that belonged to the Mexican Mafia LACJ
Enterprise without authorization.

Overt Act No. 19: On December 6, 2012, unindicted co-
conspirators assaulted R.G. on defendant JOSE FLORES’ orders.

Overt Act No. 20: On December 20, 2012, in a recorded
telephone call, defendant CECILIA VIRGEN advised defendant JOSE
FLORES that R.G. had been assaulted.

Overt Act No. 21: On December 20, 2012, in a recorded
telephone call, defendant CECILIA VIRGEN ordered that R.G. be
assaulted again, and defendant JOSE FLORES suggested that the assault
be for 39 seconds.

Laundering of Money from LACJ

Overt Act No. 22: On November 9, 2012, UICC-14 called
defendant DANIEL CERVANTES from LACJ, and in coded language during
this recorded telephone call, defendant DANIEL CERVANTES told urICcCc-14
that he had $13,000 in proceeds of Mexican Mafia LACJ Enterprise
activities and asked what he should do with it.

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Overt Act No. 23: On November 9, 2012, UICC-14 asked DMM-1
what DANIEL CERVANTES should do with the $13,000.

Overt Act No. 24: On November 9, 2012, in a recorded telephone
conversation, UICC-14 passed on to defendant DANIEL CERVANTES DMM-1’s
directions that defendant DANIEL CERVANTES should launder all $13,000
and that $12,000 of Mexican Mafia LACJ Enterprise proceeds be given
to DMM-1’s wife.

Overt Act No. 25: On December 6, 2012, defendant DANIEL
CERVANTES met with the HSI UC and gave approximately $13,000 in money
orders representing proceeds of Mexican Mafia LACJ Enterprise
activities in LACJ to the HSI UC for the HSI UC to launder by
negotiating the money orders in exchange for a fee.

Overt Act No. 26: On December 7, 2012, defendant DANIEL
CERVANTES received from the HSI UC approximately $10,237 in cash
representing the proceeds from the negotiation of the money orders
and approximately $2,100 in uncashed money orders.

Overt Act No. 27: On December 13, 2012, defendant DANIEL
CERVANTES arranged for the HSI UC to meet with defendant ALONDRA
GOMEZ for the purpose of laundering approximately $2,100 in money
orders representing proceeds from Mexican Mafia LACU Enterprise
activities.

Overt Act No. 28: On December 13, 2012, defendant ALONDRA
GOMEZ met with the HSI UC and negotiated approximately $2,100 in
money orders representing proceeds of Mexican Mafia LACJ Enterprise
activities in LACJ.

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Extortion and Assault of J.D.

 

Overt Act No. 29: On December 18, 2012, in a recorded
telephone call, defendant CECILIA VIRGEN asked UICC-3 to collect a
debt owed to her by J.D. or to assault J.D. if he did not pay.

Overt Act No. 30: From December 18, 2012, through February 11,
2013, UICC-3 arranged for J.D. to be repeatedly assaulted in LACU for
failing to pay a debt.

Overt Act No. 31: Prior to January 18, 2013, unindicted co-
conspirator 18 (“UICC-18”) allowed his LACJ inmate trust account to
be used to collect the debt from J.D.

Overt Act No. 32: On January 25, 2013, UICC-3 told defendant
CECILIA VIRGEN that $200 from J.D. had been placed on UICC-18’s LACJ
inmate trust account.

Overt Act No. 33: On January 29, 2013, in a recorded telephone
call, defendant CECILIA VIRGEN asked UICC-3 if J.D. had paid his
debt. |

Overt Act No. 34: On February 7, 2013, in a recorded telephone
call, UICC-3 instructed defendant VALERIE TREJO to pass a message to
defendant CECILIA VIRGEN that J.D. had not paid his debt, and
defendant VALERIE TREJO confirmed that she sent the message.

Overt Act No. 35: On February 11, 2013, in a recorded
telephone call, UICC-3 again instructed defendant VALERIE TREJO to
tell defendant CECILIA VIRGEN that J.D. had not paid the debt.

Overt Act No. 36: On February 11, 2013, in a recorded’
telephone call, UICC-3 told defendant CECILIA VIRGEN that J.D. had
not paid the debt but had been assaulted, and UICC-3 and defendant
CECILIA VIRGEN discussed where they could find J.D. outside of LACJ.

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Extortion of L.O.

Overt Act No. 37: From December 17, 2012, through December 30,
2012, UICC-3 extorted approximately $2,000 worth of heroin from L.O.

Overt Act No. 38: From December 19, 2012, through December 30,
2012, in recorded telephone calls from UICC-3, defendant CECILIA
VIRGEN discussed her plans to obtain drugs provided by L.O. as a
result of extortion and to have the drugs smuggled into LACuJ.
Smuggling of Heroin and Methamphetamine within LACJ

Overt Act No. 39: On December 19, 2012, UICC-3 arranged to
transport approximately 5.33 grams of black tar heroin and 1.65 grams
of a mixture or substance containing a detectable amount of
methamphetamine from MCU to NCCF to be sold on behalf of the Mexican
Mafia LACJ Enterprise.

Overt Act No. 40: On December 19, 2012, defendant JUAN REYES
transported approximately 5.33 grams of black tar heroin and 1.65
grams of a mixture or substance containing a detectable amount of
methamphetamine from MCJ to NCCF in his body on behalf of the Mexican
Mafia LACJ Enterprise.

Overt Act No. 41: On December 23, 2012, in a recorded
telephone call, defendant CECILIA VIRGEN informed UICC-3 that the
black tar heroin and methamphetamine carried by defendant JUAN REYES
had been seized by law enforcement.

Assault and Extortion of S.M.

Overt Act No. 42: Prior to December 21, 2012, defendant
CECILIA VIRGEN ordered that S.M. be assaulted because he was in bad
standing with the Mexican Mafia LACJ Enterprise.

Overt Act No. 43: On December 21, 2012, unindicted co-
conspirators assaulted S.M.

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Smuggling of Heroin into LACJ

Overt Act No. 44: From October 26, 2012, through October 31,
2012, in recorded telephone calls, UICC-8 and unindicted co-
conspirator 19 (“UICC-19”) arranged for an attorney, unindicted co-
conspirator 20 (“UICC-20”) to bring heroin into LACJ by hiding the
heroin in a greeting card that UICC-19 would give to UICC-20 to pass
to UICC-8.

Overt Act No. 45: Prior to and on December 22, 2012, in
recorded telephone calls, defendant CECILIA VIRGEN discussed with
UICC-8 the plan to smuggle heroin into LACJ, and defendant CECILIA
VIRGEN directed UICC-8 to allow her to add approximately one-half
ounce of heroin into the heroin-filled greeting card.

Overt Act No. 46: On December 24, 2012, in a recorded
telephone conversation, UICC-8 and UICC-19 ordered approximately one
and one-half ounces of heroin from unindicted co-conspirator 21
(“UICC-21”) and discussed that the destination for the heroin was
LACu.

Overt Act No. 47: On December 25, 2012, UICC-19 purchased
approximately one and one-half ounces of heroin from UICC-21.

Overt Act No. 48: On December 28, 2012, as arranged by
defendant CECILIA VIRGIN, UICC-8, UICC-19, UICC-20 attempted to
smuggle a greeting card containing approximately 23.8 grams of heroin
into LACJ, but were caught by LASD deputies.

Collection of the Kitty

 

Overt Act No. 49: From July 14, 2012, through May 22, 2013,
defendant MIRIAM MEZA collected kitty proceeds, drug proceeds, and-
other extortion proceeds from LACJ and placed that money onto the

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inmate trust accounts of unindicted co-conspirators UICC-3 and
uIcc-18.
Orders to Assault R.G. and “Stomper” from the Rockwood gang because

of R.G.’s Interference with Drug Trafficking

 

Overt Act No. 50: From December 29, 2012, through December 31,
2012, in recorded telephone calls from defendant JOSE FLORES,
defendant CECILIA VIRGEN ordered that R.G. be assaulted for
protesting his previous assault and that a Sureno known as “Stomper”
from the Rockwood gang be assaulted for speaking up on behalf of R.G.

Money Laundering Using an Inmate Trust Account

 

Overt Act No. 51: On or before December 27, 2012, UICC-7
directed his subordinates to put the kitty and drug money onto the
inmate trust account of defendant ANGEL SANCHEZ.

Overt Act No. 52: From December 23, 2012, through January 31,
2013, defendant ANGEL SANCHEZ allowed his LACUJ inmate trust account
to be used by the Mexican Mafia LACU Enterprise to launder the kitty
and drug money.

Overt Act No. 53: On or before January 25, 2013, defendant
MARK LANDEROS sent a kite to inform UICC-3 that the kitty money was
being placed on the LACJ inmate trust account of defendant ANGEL
SANCHEZ.

Overt Act No. 54: From December 23, 2012, through January 19,
2013, in recorded telephone conversations, defendant ANGEL SANCHEZ
and UICC-15 discussed withdrawing the Mexican Mafia LACJ Enterprise’s
money from defendant ANGEL SANCHEZ’ LACJ inmate trust account.

Overt Act No. 55: From on or before January 11, 2013, through
January 31, 2013, UICC-15, withdrew the kitty and drug money from

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defendant ANGEL SANCHEZ’ LACJ inmate trust account to be given to
defendant VALERIE TREJO for UICC-3.

Order to Assault or Murder J.R.

 

Overt Act No. 56: In September 2011, defendant LUIS VEGA
ordered J.R. to allow his home to be used to store weapons and drugs.
Overt Act No. 57: On November 16, 2011, because of J.R.’s

refusal to allow his home to be used to store weapons and drugs,
defendant LUIS VEGA gathered fellow gang members, obtained a firearm,
and went to J.R.’s residence to threaten him into agreeing to allow
his home to be used to store weapons and drugs.

Overt Act No. 58: On or after November 16, 2011, defendant
LUIS VEGA placed J.R. on the “Green Light” list because J.R. called
the police and caused defendant LUIS VEGA’s arrest.

Overt Act No. 59: On December 1, 2012, upon learning that J.R.
was in LACJ, defendant LUIS VEGA sent a kite ordering that J.R. be
murdered to a person defendant LUIS VEGA thought was a fellow MS-13
gang member, but who was actually J.R.

Laundering of Money from LACJ

 

Overt Act No. 60: On January 9, 2013, defendant DANIEL
CERVANTES met with and gave approximately $10,046 in money orders
representing proceeds of Mexican Mafia LACJ Enterprise activities to
the SI UC for the HSI UC to launder by negotiating the money orders
in exchange for a fee.

Overt Act No. 61: On January 10, 2013, defendant DANIEL
CERVANTES received from the the HSI UC approximately $9,414 in cash
representing the proceeds from the negotiation of the money orders.
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Attempted Smuggling of Marijuana and Correspondence Related to
Extortion and Money Laundering into LACJ

Overt Act No. 62: On January 18, 2013, unindicted co-
conspirator 22 (“UICC-22”) transported, in his body, marijuana, a
kite discussing extortion and money laundering, and three roll calls
from UICC-7 intended for UICC-1. .

Smuggling of Heroin and Methamphetamine into LACJ

Overt Act No. 63: From December 19, 2012, through January 22,
2013, defendants CECILIA VIRGEN and JOSE FLORES, and UICC-3 and
unindicted co-conspirator 23 (“UICC-23”), arranged to smuggle
approximately 64.6 grams of heroin and approximately 36.7 grams of
methamphetamine into LACJ on behalf of DMM-1.

Overt Act No. 64: On January 19, 2013, at defendant CECILIA
VIRGEN’s direction, UICC-23 possessed and smuggled in his body at
least 64.6 grams of heroin and 36.7 grams of methamphetamine into
LACJ for DMM-1.

Overt Act No. 65: On January 22, 2013, UICC-23 gave an unknown
amount of a controlled substance to UICC-3 in LACJ.
Possession of Methamphetamine, Cash, and Firearms

Overt Act No. 66: On January 29, 2013, ADRIAN ARAIZA possessed
with intent to distribute approximately 6,317.7 grams of
methamphetamine, on behalf of DMM-1.

Overt Act No. 67: On January 29, 2013, ADRIAN ARAIZA possessed

two firearms in order to protect the approximately 6,317.7 grams of

methamphetamine.
Overt Act No. 68: On January 29, 2013, defendant ADRIAN ARAIZA

possessed approximately $444,372 in drug proceeds on behalf of DMM-1.

Attempted Murder of M.A.

 

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Overt Act No. 69: On February 7, 2013, defendant LUIS GARCIA
attempted to kill M.A. in LACJ because M.A. was on the “Green Light”
list.

Assault and Extortion of S.M.

 

Overt Act No. 70: From February 10, 2013, through February 13,
2013, in recorded telephone calls, defendants CECILIA VIRGEN and MARK
LEVY arranged for S.M. to be assaulted until he made a payment to the
Mexican Mafia LACJ Enterprise.

Overt Act No. 71: On February 13, 2013, unindicted
coconspirators assaulted S.M. because of his bad standing with the
Mexican Mafia LACJU Enterprise.

Smuggling of Methamphetamine, Heroin, and Marijuana into LACJ

Overt Act No. 72: From January 22, 2013, through February 28,
2013, defendants CECILIA VIRGEN, VALERIE TREJO, and RICHARD BATLEY,
and unindicted co-conspirators Richard Griego and UICC-3, arranged
for heroin, methamphetamine and marijuana to be smuggled to UICC-3 in
LACJ on behalf of DMM-1.

Overt Act No. 73: On February 12, 2013, defendant RICHARD
BAILEY packaged methamphetamine, heroin, and marijuana for unindicted
co-conspirator Richard Griego to smuggle into LACJ.

Overt Act No. 74: On February 28, 2013, unindicted co-
conspirator Richard Griego possessed in his body and attempted to
smuggle approximately 26.2 grams of pure methamphetamine,
approximately 62.9 grams of heroin, and approximately 11.75 grams of

marijuana into LACJ for UICC-3 and DMM-1.

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Assault of I.E. for Taking Mexican Mafia LACJ Enterprise Extortion
Proceeds and for Cooperating with Law Enforcement

Overt Act No. 75: On March 15, 2013, unindicted co-
conspirators assaulted I.E. at the direction of defendant VALENTIN
CORDOVA.

Overt Act No. 76: On April 12, 2013, in a recorded telephone
call, defendant VALENTIN CORDOVA reported to defendant CECILIA VIRGEN
that he had ordered that I.E. be assaulted because I.E. had been
taking Mexican Mafia LACU Enterprise proceeds and had told LACJ
deputies about a previous assault on him, so that defendant CECILIA
VIRGEN could inform other fa¢ilities that I.E. should be assaulted.

Assault and Extortion of S.M.

 

Overt Act No. 77: Prior to March 21, 2013, defendant CECILIA
VIRGEN ordered that S.M. be assaulted until he made a payment to the
Mexican Mafia LACJ Enterprise.

Overt Act No. 78: On March 21, 2013, unindicted co-
conspirators assaulted S.M. because of his bad standing with the
Mexican Mafia LACJ Enterprise.

Assault of R.K. and Planned Assault of G.S. for Cooperating with Law
Enforcement

Overt Act No. 79: On or before March 25, 2013, UICC-11 ordered
that R.K. be assaulted because UICC-11 suspected that R.K. had
cooperated with law enforcement.

Overt Act No. 80: On March 25, 2013, unindicted co-
conspirators R.K. on UICC-11’s orders because of R.K.’s suspected
cooperation with law enforcement.

Overt Act No. 81: From April 6, 2013, through May 21, 2013,
uTCC-3 and defendant CECILIA VIRGEN discussed, in recorded telephone

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calls, locating G.S. in order to have him assaulted as discipline for
his suspected cooperation with law enforcement.
Assault of A.R. in Order to Commit Extortion

Overt Act No. 82: On March 31, 2013, defendant MARK LANDEROS
and unindicted co-conspirator 25 (“UICC-25”) assaulted A.R. because
they believed A.R. was in LACJ for a sexual assault.

Assault and Extortion of J.M.-2

 

Overt Act No. 83: On or before April 2, 2013, defendant
VALENTIN CORDOVA ordered the assault of J.M.-2 because J.M.-2 lied
about his identity to the Mexican Mafia LACJ Enterprise.

Overt Act No. 84: On April 2, 2013, unindicted co-conspirators
assaulted J.M.-2 because of his bad standing with the Mexican Mafia
LACJ Enterprise.

Overt Act No. 85: On April 6, 2013, in a recorded telephone
call, defendant CECILIA VIRGEN ordered that J.M.~-2 be assaulted until
he pays his debt to the Mexican Mafia LACJ Enterprise.

Extortion of J.M.-3

 

Overt Act No. 86: From April 6, 2013, through May 20, 2013, in
recorded telephone conversations, defendant CECILIA VIRGEN spoke to
UICC-3 and defendants VALENTIN CORDOVA and FRANKIE MEGORADO about
finding J.M.-3 in LACJ to collect a debt that J.M.-3 owed to the
Mexican Mafia LACU Enterprise.

Overt Act No. 87: On April 6, 2013, in a recorded telephone
conversation, defendant VALENTIN CORDOVA told defendant CECILIA
VIRGEN he would look for J.M.-3.

Overt Act No. 88: On May 16, 2013, in a recorded telephone
conversation, UICC-3 told defendant CECILIA VIRGEN that J.M.-3 had
paid his debt to the Mexican Mafia.

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Overt Act No. 89: On May 19, 2013, in a recorded telephone
conversation, defendant CECILIA VIRGEN told defendant FRANKIE
MEGORADO that J.M.-3 still owed money to the Mexican Mafia, but that
she was going to allow J.M.-3 to pay $400 instead of $600, and
defendant FRANKIE MEGORADO provided J.M.-3’s name and booking number
to CECILIA VIRGEN so that he could be located.

Assault of Defendent MIGUEL GARCIA for not Remitting the Proper Drug

and Extortion Proceeds

 

Overt Act No. 90: From April 5, 2013, through April 12, 2013,
in recorded telephone conversations, defendant CECILIA VIRGEN ordered
defendant JOSE OLEA to assault defendant MIGUEL GARCIA and to replace
defendant MIGUEL GARCIA as the shot-caller of the 700 floor of NCCF
because defendant MIGUEL GARCIA had not been properly remitting
extortion and drug proceeds and because defendant MIGUEL GARCIA’s
wife had disrespected defendant CECILIA VIRGEN during the dispute
over the proceeds.

Overt Act No. 91: On or before April 9, 2013, defendant JOSE
OLEA ordered that defendant MIGUEL GARCIA be assaulted.

Overt Act No. 92: On April 9, 2013, unidentified co-
conspirators assaulted defendant MIGUEL GARCIA as directed by
defendant JOSE OLEA.

Overt Act No. 93: On April 10, 2013, in a recorded telephone
conversation, defendant CECILIA VIRGEN directed defendant JOSE OLEA
to continue assaulting defendant MIGUEL GARCIA until defendant MIGUEL
GARCIA surrendered the roll calls, the address to which to send kitty
and other money, phone numbers, and calling cards to defendant JOSE
OLEA.

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Overt Act No. 94: On April 12, 2013, after defendant JOSE OLEA
told defendant CECILIA VIRGEN in a recorded telephone call that
defendant MIGUEL GARCIA had complied, defendant CECILIA VIRGEN
ordered that defendant MIGUEL GARCIA be assaulted until he left the
700 floor of NCCF.

Overt Act No. 95: On April 12, 2013, defendant JOSE OLEA
arranged for defendant MIGUEL GARCIA to be assaulted again.

Overt Act No. 96: On April 12, 2013, unidentified co-
conspirators assaulted defendant MIGUEL GARCIA as directed by
defendant JOSE OLEA.

Assault of L.M. for Attempting to Evade Extortion

| Overt Act No. 97: On April 23, 2013, Mark Martinez, Amo West,
Ramiro Andrade, Oswaldo Quintero, Nicholas Escarcega, Christian
Fuentes, Francisco Ruiz, and Jose Vera assaulted L.M. in order to
maintain Mexican Mafia LACJ Enterprise discipline and punish L.M. for
attempting to evade extortion.

Overt Act No. 98: On April 23, 2013, unknown co-conspirators
moved the unconscious body of L.M. in order to prevent the detection
of the beating of L.M.

Overt Act No. 99: On April 23, 2013, unindicted co-conspirator
Ramiro Andrade and other unknown co-conspirators cleaned blood and
other evidence of an assault from the location of the beating of L.M.
to prevent the detection of the beating of L.M..

Assaults of J.V. and M.M.F.

 

Overt Act No. 100: On April 28, 2013, an unindicted co-

 

conspirator assaulted J.V. for volunteering for and backing out of an

agreed upon assault.

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Overt Act No. 101: On April 28, 2013, unindicted co-

 

conspirators assaulted M.M.F. for violating a Mexican Mafia LACJ
Enterprise rule against associating with African-American inmates.

Laundering of Money from LACJ

 

Overt Act No. 102: On May 9, 2013, defendant DANIEL CERVANTES

 

met with and gave the HSI UC approximately $7,976 in money orders
representing proceeds of Mexican Mafia LACJ Enterprise activities for
the HSI UC to launder by negotiating the money orders in exchange for

a fee.

Overt Act No. 103: On May 10, 2013, defendant DANIEL CERVANTES

 

received from the ICE UC $7,178 in caSh representing proceeds from
the negotiation of the money orders.

Possession of Methamphetamine and Mexican Mafia LACJ Enterprise
Correspondence Regarding Extortion in LACJ

Overt Act No. 104: On May 13, 2013, in LACJ, defendant MICHAEL

 

BENNETT possessed inside his body approximately 5.5 grams of
methamphetamine, which he intended to give to uiIcc-1.

Overt Act No. 105: On May 13, 2013, defendant MICHAEL BENNETT

 

carried a message regarding extortion and leadership within LACJ in
his body from UICC-3 intended for UICC-l.

Overt Act No. 106: On May 13, 2013, UICC~3 reported to UICC-1

 

that MCT had paid $1,500 in kitty money, that he had fined a Sureno

$600 and ordered that the Sureno be assaulted for losing drugs, and

identified various other shot-callers within LACJ.

Possession of Cocaine and Methamphetamine and Correspondence Related
to Drug Trafficking and Extortion

Overt Act No. 107: On May 15, 2013, in LAC, defendant EDWIN

 

AYALA possessed with the intent to distribute to others on behalf of

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the Mexican Mafia LACJ Enterprise approximately .6 grams of cocaine

base in the form of crack cocaine and approximately .54 grams of

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methamphetamine.

Overt Act No. 108: On May 15, 2013, defendant EDWIN AYALA

 

possessed two kites from UICC-11 intended for UICC-3 and unindicted
co-conspirator 27 (“UICC-27").

Conspiracy to Extort and Assault J.J.

 

‘Overt Act No. 109: On May 17, 2013, in a recorded telephone

 

call, defendants CECILIA VIRGEN, FRANKIE MEGORADO, and VALENTIN
CORDOVA discussed having J.J. assaulted for interfering with the
orderly administration of Mexican Mafia LACJd Enterprise operations,
including the handling of drug and extortion proceeds.

Overt Act No. 110: On May 20, 2013, in a recorded telephone

 

call, defendant CECILIA VIRGEN directed Gefendant FRANKIE MEGORADO to
arrange the assault of: J.J. in order to maintain Mexican Mafia LACJ

Enterprise discipline.

Overt Act No. 111: On May 20, 2013, in a recorded telephone

 

call, defendant FRANKIE MEGORADO agreed to arrange the assault of
J.J. as directed by defendant CECILIA VIRGEN.
Possession of Mexican Mafia LACJ Enterprise Records

Overt Act No. 112: On May 22, 2013, defendant CECILIA VIRGEN

 

possessed records of the Mexican Mafia LACJd Enterprise’s racketeering
activities in LACJ, including drug trafficking and extortion.

Smuggling of Methamphetamine, Heroin and Marijuana into LACJ

 

Overt Act No. 113: From May 22, 2013, through May 30, 2013, in
recorded telephone conversations, UICC-10 and defendant ANA MARTINEZ
coordinated the smuggling of heroin, methamphetamine, and marijuana
to UICC-3 in LACJ; UICC-10 directed defendant ANA MARTINEZ to mark

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the drugs with “Kahn” to indicate that they were for UICC-3; and
UICC-10 directed defendant ANA MARTINEZ to package the drugs in the
cutoff fingers of black latex gloves.

Overt Act No. 114: On May 23, 2013, defendant ANA MARTINEZ

 

obtained heroin, methamphetamine, and marijuana from an unknown
supplier and packaged the drugs for smuggling into LACJ.

Overt Act No. 115: From May 2013 through August 7, 2013,

 

defendant ANA MARTINEZ possessed digital scales and narcotics
packaging to facilitate the smuggling of drugs into LACJ on behalf of
the Mexican Mafia LACJ Enterprise.

Money Laundering

Overt Act No. 116: On May 24, 2013, in a recorded telephone

 

conversation, UICC-10 directed defendant ANA MARTINEZ to transfer
$500 of Mexican Mafia LACJ Enterprise drug money to defendant VALERIE

TREJO.

Overt Act No. 117: On May 24, 2013, defendant ANA MARTINEZ

 

transferred $500 of Mexican Mafia LACJ Enterprise drug money to
defendant VALERIE TREJO via money order.
Identity Theft and Access Device Fraud

Overt Act No. 118: From May 2013 through at least August 2013,

 

defendant ANA MARTINEZ obtained identity profiles, opened fraudulent
Verizon phone accounts based on those profiles, and provided those
phone numbers to UICC-10 to give to other Mexican Mafia LACJ
Enterprise associates so that they could carry out Mexican Mafia LACJ
Enterprise business by making free phone calls.

Overt Act No. 119: On August 7, 2013, defendant ANA MARTINEZ

 

possessed in her residence hundreds of stolen identity profiles to

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use to open fraudulent phone accounts to further Mexican Mafia LACU
Enterprise communications to and from LACJ.

Defendant JOSE LANDA-RODRIGUEZ takes over Mexican Mafia LACJ
Enterprise Operations, Including Drug Trafficking and Extortion

Overt. Act No. 120: Beginning on June 21, 2013, following the

 

death of DMM-1, defendant JOSE LANDA-RODRIGUEZ took over all Mexican
Mafia LACJ Enterprise operations within LACJ.

Overt Act No. 121: Beginning June 21, 2013, following the death

 

of DMM-1, UICC-9 assumed a position as a top lieutenant to defendant
JOSE LANDA-RODRIGUEZ for running Mexican Mafia LACJ Enterprise

operations in LACJ.

Overt Act No. 122: Beginning June 21, 2013, following the death

 

of DMM-1, defendant MIGUEL CALDERON assumed a position as an out-of-
custody “secretary” for defendant JOSE LANDA-RODRIGUEZ to facilitate
Mexican Mafia LACJ Enterprise operations in LACJ.

Overt Act No. 123: Beginning June 21, 2013, following the death

 

of DMM-1, UICC-4 took over as the shot-caller of the 800 and 900
dorms in NCCF to run Mexican Mafia LACJ Enterprise operations for
defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 124: Beginning June 26, 2013, following the death

 

of DMM-1, defendant MIGUEL GARCIA took over as the shot-caller of the
500, 600, and 700 dorms in NCCF to run Mexican Mafia LACJ Enterprise
operations for defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 125: On June 24, 2013, defendant JOSH LANDA-

 

RODRIGUEZ told defendant SAMANTHA RIVERA that he was taking over all
of LACI and directed defendant SAMANTHA RIVERA to inform defendant
MIGUEL CALDERON.

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Overt Act No. 126: Prom June 24, 2013, through at least

 

December 18, 2015, defendant SAMANTHA RIVERA passed communications
from defendant JOSE LANDA-RODRIGUBZ to other Mexican Mafia members.

Overt Act No. 127: On June 28, 2013, defendant MIGUEL CALDERON

 

directed UICC-9 to send the kitty money to a post office box that he
controlled and to send the drug and fine money to another post office
box that he controlled.

Overt Act No. 128: On June 23, 2013, July 6, 2013, and July 26,

 

2013, defendant MIGUEL CALDERON made deposits of approximately $200
in kitty proceeds into the LACJ inmate trust account of defendant
JOSE LANDA-RODRIGUEZ.

Smuggling of Methamphetamine into LACJ

Overt Act No. 129: From July 24, 2013, through August 14, 2013,

 

defendant MARK LANDEROS and unindicted co-conspirators Kristen Ayala,
Jonathan Rodriguez, Bryanna McCullah, Juan NMN Garcia, and unindicted
co-conspirator 31 (“UICC-31”) arranged to smuggle approximately one
ounce of methamphetamine and one ounce of marijuana into LACJ.

Overt Act No. 130: On July 25, 2013, in a recorded telephone

 

conversation, defendant MARK LANDEROS asked UICC-31 to smuggle drugs

into LACJ.

Overt Act No. 131: On August 3, 2013, in a recorded telephone

 

conversation between defendant MARK LANDEROS and unindicted co-
conspirators Kristen Ayala and Juan NMN Garcia, defendant MARK
LANDEROS asked unindicted co-conspirator Juan NMN Garcia to supply
methamphetamine and marijuana, and unindicted co-conspirator Juan NMN
Garcia agreed to do so and gave prices for the drugs.

Overt Act No. 132: On August 13, 2013, in a recorded telephone

 

conversation, defendant MARK LANDEROS spoke to unindicted co-

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conspirator Jonathan Rodriguez and gave him instructions regarding
the drugs to be smuggled into LACJ.

Overt Act No. 133: On August 14, 2013, acting on defendant MARK

 

LANDEROS’ instructions, unindicted co-conspirator Jonathan Rodriguez
attempted to smuggle into LACJ approximately 22.7 grams of
methamphetamine inside his body.

JUAN REYES Appointed as Shot-Caller for 800 Floor of NCCF

Overt Act No. 134: On or before August 7, 2013, defendant

 

FRANKIE MEGORADO sent a kite to defendant JUAN REYES appointing
defendant JUAN REYES as shot-caller for the 800 floor of MCJ on
behalf of the Mexican Mafia LACJ Enterprise, and providing
instructions regarding extortion and discipline.

Smuggling of Heroin within LACJ

Overt Act No. 135: On September 24, 2013, unindicted co-

 

conspirator 32 (“UICC-32”) attempted to smuggle .39 grams of heroin
from Twin Towers to defendant MIGUEL GARCIA at NCCF.

LAURFEN GARCIA Acts as the Secretary for NCCF and MANUEL JIMENEZ Acts
as a Shot-Caller for NCCF by imposing Discipline and Collecting
Extortion Proceeds and Laundering Them

Overt Act No. 136: In October 2013, defendant LAUREEN GARCIA

 

served as the Mexican Mafia LACJ Enterprise secretary for NCCF and in
that capacity ordered assaults as discipline and for violations of
Mexican Mafia rules, collected “Green Dot” numbers representing
proceeds from Mexican Mafia LACJ Enterprise extortion activities from
defendant MANUEL JIMENEZ, and directed defendant MANUEL JIMENEZ to
send extortion money to a post office box that defendant LAUREEN
GARCIA controlied.

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Overt Act No. 137: On October 3, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA appointed MANUEL JIMENEZ and
an unindicted co-conspirator known as “Fatboy” from the Blythe Street
gang to run Mexican Mafia LACJ Enterprise activities in parts of
NCCF.

Overt Act No. 138: On October 7, 2013, in a recorded telephone

 

conversation, defendant MANUEL JIMENEZ provided to defendant LAUREEN
GARCIA the number to a Green Dot card/account that contained $100 in
Mexican Mafia LACJ Enterprise proceeds.

Overt Act No. 139: On October 11, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA gave the post office box
address for kitty money to defendant MANUEL JIMENEZ.

Overt Act No. 140: On October 12, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA ordered defendant ALAVARO
LEYVA to fine a Sureno known as “Oso” $600 for violating Mexican
Mafia LACJ Enterprise rules.

Overt Act No. 141: On October 12, 2013, in a recorded telephone

 

conversation, defendant ALAVARO LEYVA told defendant LAUREEN GARCIA
that he would fine the Sureno known as “Oso” $600 and have him
assaulted three times for 39 seconds, and defendant LAUREEN GARCIA
agreed.

Overt Act No. 142: On October 14, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA gave the post office box
address for kitty money to defendant ALAVARO LEYVA.

Overt Act No. 143: On October 14, 2013, in a recorded telephone

 

conversation, defendant ALAVARO LEYVA told defendant LAUREEN GARCIA
about inmates in NCCF who were causing problems and suggested that

they be fined $1,000.
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Overt Act No. 144: On October 14, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA agreed to the $1,000 fines for
Oso and other inmates who were causing problems in NCCF and ordered
that they be assaulted as well.

Overt Act No. 145: On October 27, 2013, defendant LAUREEN

 

GARCIA put $50 on the inmate trust account of defendant JOSE LANDA-

RODRIGUEZ.

Overt Act No. 146: On November 1, 2013, defendant LAUREEN

 

GARCIA possessed sixty-seven money orders representing $3,240 in
Mexican Mafia LACJ Enterprise proceeds.

Assault of FRANKIE MEGORADO for Failing to Run Mexican Mafia LACJ
Enterprise Drug Trafficking and Extortion, Properly

Overt Act No. 147: On or before October 2, 2013, in a recorded

 

telephone conversation, defendant ALAVARO LEYVA told defendant
LAUREEN GARCIA that defendant FRANKIE MEGORADO should be assaulted
because he was not running Mexican Mafia LACJ Enterprise operations
properly, including by not remitting the proper amount of drug and
extortion proceeds.

Overt Act No. 148: On October 2, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA ordered defendant ALAVARO
LEYVA to have defendant FRANKIE MEGORADO assaulted because he was not
running Mexican Mafia LACJ Enterprise operations properly.

Overt Act No. 149: On or after October 2, 2013, defendant

 

ALAVARO LEYVA ordered that defendant FRANKIE MEGORADO be assaulted.

Overt Act No. 150: On October 5, 2013, unindicted co-

 

conspirators assaulted defendant FRANKIE MEGORADO.

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Greenlighting of Rafael Carrillo

Overt Act No. 151: On or before October 10, 2013, defendant

 

JOSE LANDA-RODRIGUEZ ordered that UICC-1 be seriously assaulted for
undermining defendant GILBERT PARRA’S authority to collect extortion

and proceeds.

Overt Act No. 152: On October 10, 2013, defendant GILBERT PARRA

 

passed on defendant JOSE LANDA-RODRIGUEZ’ order that UICC-1 be
seriously assaulted to maintain the efficiency of the Mexican Mafia
LACS Enterprise’s extortion and drug trafficking activities.

Overt Act No. 153: On October 14, 2013, defendant GILBERT PARRA

 

attempted to pass on to NCCF orders that UICC-1 be seriously

assaulted.

Overt Act No. 154: On October 14, 2013, UICC-9 attempted to

 

smuggle into NCCF kites containing orders and instructions from
defendants GILBERT PARRA and JOSE LANDA-RODRIGUEZ.

Conspiracy to Assault J.J. for Interfering with Drug Trafficking and
Extortion

Overt Act No. 155: From October 10, 2013 through October 21,

 

2013, defendants JOSE LANDA-RODRIGUEZ and ERNESTO VARGAS ordered that
J.Jd. be assaulted for undermining defendant MIGUEL GARCIA’s authority
to collect extortion and drug proceeds.

Overt Act No. 156: On or before October 23, 2013, Juan Jimenez

 

was assaulted on the orders of defendant ERNESTO VARGAS in order to
maintain the efficiency of Mexican Mafia LACJ Enterprise extortion

and drug trafficking activities.

Overt Act No. 157: On October 23, 2013, in a recorded telephone

 

conversation, defendants ERNESTO VARGAS and MIGUEL GARCIA discussed
unindicted co-conspirator J.J.’s assault as discipline for

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questioning defendant MIGUEL GARCIA’s status in the Mexican Mafia
LACJ Enterprise.

JONATHAN VERDEJA Facilitates Mexican Mafia LACJ Enterprise Activities
at NCCF Including Drug Trafficking, Extortion, and Related Money
Laundering

Overt Act No. 158: From about October 16, 2013, through

 

December 26, 2013, defendant JONATHAN VERDEJA acted as the
facilitator for NCCF on behalf of the Mexican Mafia LACJ Enterprise;
defendant JONATHAN VERDEJA coordinated and collected kitty money and
oversaw the distribution of drugs in NCCF.

Overt Act No. 159: On October 17, 2013, in recorded telephone

 

conversations, defendant JONATHAN VERDEJA called unindicted co-
conspirator 33 (“UICC-33”), who gave the post office box address for
Mexican Mafia LACJ Enterprise money and payments to defendant
JONATHAN VERDEJA, and defendant JONATHAN VERDEJA agreed to send the
payments to that address and directed UICC-33 to pass messages
through defendant JONATHAN VERDEJA’s secretary, unindicted co-
conspirator 34 (“UICC-34”).

Overt Act No. 160: On October 18, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-34 to open a post
office box, told UICC-34 that he will send kitty money to her, and
told UTICC-34 to put the money on his inmate trust account.

Overt Act No. 161: On October 19, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-34 to give the
post office box address to NCCF shot-callers who will be calling her.

Overt Act No. 162: On October 22, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-34 how to instruct
NCCF shot-callers to properly fill out money orders.

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Overt Act No. 163: On October 29, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-34 to give the
post office box address to “Greedy” and “Laughing Boy;” UICC-34 told
defendant JONATHAN VERDEJA that she had already received one money
order, that she was unhappy that her name was on it, and that she
preferred to deal in Green Dot numbers.

Overt Act No. 164: On October 30, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-34 that she will
be receiving twenty-eight money orders representing proceeds of
Mexican Mafia LACJ Enterprise activities.

Overt Act No. 165: On November 10, 2013, in a recorded

 

telephone conversation, UICC-34 told defendant JONATHAN VERDEJA that
she had received kitty payments from dorms 822 and 823, and defendant
JONATHAN VERDEJA told her to cash them.

Overt Act No. 166: On November 15, 2013, in a recorded

 

telephone conversation, an unidentified female co-conspirator told
defendant JONATHAN VERDEJA that she had eight money orders
representing Mexican Mafia LACJ Enterprise proceeds and defendant
JONATHAN VERDEJA told the unidentified female co-conspirator to keep
two for herself and he would tell her what to do with the rest.

Overt Act No. 167: On November 19, 2013, in a recorded

 

telephone conversation, defendant JONATHAN VERDEJA told unindicted
co-conspirator 35 (“UICC-35”) that more money orders will be sent and
that they are important.

Overt Act No. 168: On November 21, 2013, in a recorded

 

telephone conversation, defendant JONATHAN VERDEJA reported on how
things were going at NCCF to defendant GILBERT PARRA and told

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unindicted co-conspirator 36 (“UICC-36”) to give money orders to
defendant GILBERT PARRA.

Overt Act No. 169: On December 1, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-35 that she will
be receiving more Green Dot numbers and UICC-35 told defendant
JONATHAN VERDEJA that she had five Green Dot numbers and one money

order.

 

Overt Act No. 170: On December 4, 2013, in a recorded telephone
conversation, UICC-35 told defendant JONATHAN VERDEJA that she had
one Green Dot number, five money orders, and one money-gram and that
her Green Dot account had been frozen for potential money laundering.

Overt Act No. 171: On December 8, 2013, in a recorded telephone

 

conversation, UICC-35 reported to defendant JONATHAN VERDEJA that she
had ten money orders and one money-gram and defendant JONATHAN
VERDEJA told her to give them to an unidentified co-conspirator.

Overt Act No. 172: On December 9, 2013, in a recorded telephone

 

conversation, UICC-36 reported to defendant JONATHAN VERDEJA that she
had twenty money orders and defendant JONATHAN VERDEJA told UICC-36
to keep one for herself and give the rest to UICC-35.

Overt Act No. 173: On December 9, 2013, in a recorded telephone

 

conversation, defendant JONATHAN VERDEJA told UICC-35 to get nineteen
money orders from UICC-36 and to give them to defendant GILBERT
PARRA.

Conspiracy to Assault G.S.

 

Overt Act No. 174: On October 20, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA ordered that G.S. be assaulted

for mentioning defendant JOSE LANDA-RODRIGUEZ’ name too much.

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Possession of Heroin and Mexican Mafia LACJ Enterprise Correspondence
within LACJ

Overt Act No. 175: On November 5, 2013, an UICC-2 gave six

 

doses of heroin that was prepackaged for sale to unindicted co-
conspirator 37 (“UICC-37”) to sell to other persons inside LACJ.

Overt Act No. 176: On November 5, 2013, UICC-37 possessed six

 

doses of heroin that was prepackaged for sale with intent to sell it
to other persons inside LACJ.

Overt Act No. 177: On November 5, 2013, UICC-37 transported a

 

kite written by defendant MARK LANDEROS, containing instructions that
defendant LUIS GARCIA was the facilitator for defendant JOSE LANDA-
RODRIGUEZ for MCJ and Twin Towers, his orders were to be respected,
and anyone expressing disobedience to him should be assaulted for 39
seconds. .
Possession of Mexican Mafia LACJ Enterprise Correspondence Related to

Drug Trafficking and Extortion

Overt Act No. 178: On December 4, 2013, defendant LUIS GARCIA

 

possessed kites directing the activities of the Mexican Mafia LACJ
Enterprise inside LACJ, including drug trafficking and Extortion.
Assault of UICC-32 for Losing Mexican Mafia LACJ Enterprise Heroin

Overt Act No. 179: On or before October 1, 2013, defendant

 

MICUEL GARCIA ordered that UICC-32 be assaulted as discipline for
losing heroin that belonged to the Mexican Mafia LACT Enterprise.

Overt Act No. 180: On October 1, 2013, in a recorded telephone

 

conversation, defendant LAUREEN GARCIA passed on to defendant MANUEL
JIMENEZ defendant MIGUEL GARCIA’s order that UICC-32 be assaulted
inside LACJ as discipline for losing the heroin he had attempted to

smuggle into NCCF.
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Overt Act No. 181: On or after October 1, 2013, defendant

 

MANUEL JIMENEZ passed along the order to assault UICC-32.

Overt Act No. 182: On December 5, 2013, unindicted co-

 

conspirators assaulted UICC-32.
Assault of O.A. for Failing to Conduct Mexican Mafia LACJ Enterprise
Operations, Including Drug Trafficking and Extortion, Properly

Overt Act No. 183: On or before December 12, 2013, defendant

 

LUIS GARCIA ordered that O.A. be assaulted and replaced as a shot-

caller.

Overt Act No. 184: On December 12, 2013, unindicted co-

 

conspirators assaulted O.A. to remove him as a shot-caller.

Possession of Heroin Within LACJ and Extortion

 

Overt Act No. 185: On or before December 18, 2013, UICC-2

 

arranged for approximately 43.7 grams of heroin to be given to
unindicted co-conspirator Jonathan Rodriguez to smuggle into Twin
Towers for UICC-2 and defendant LUIS GARCIA.

Overt Act No. 186: On December 18, 2013, unindicted co-

 

conspirator Jonathan Rodriguez possessed approximately 43.7 grams of
heroin with intent to distribute it to others on behalf of defendant
JOSE LANDA-RODRIGUEZ.

Overt Act No. 187: On or before January 30, 2014, UICC-2 wrote

 

a kite to defendant MARK LANDEROS to explain that unindicted co-
conspirator Jonathan Rodriguez had been fined $5,000 and would have
to smuggle more drugs into LACJ because he lost the heroin seized
from him on December 18, 2013, and that another Sureno had lost

thirds in the form of two grams of methamphetamine.

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Possession of Mexican Mafia LACJ Enterprise Material

Overt Act No. 188: On January 31, 2014, defendant LUIS GARCIA

 

possessed a razor blade, two pens, and contact information for
defendants JOSE LANDA-RODRIGUEZ and SAMANTHA RIVERA and others.
Defendant GABRIEL ZENDEJAS-CHAVEZ Hosts an Eme Meeting at his Law
Office

Overt Act No. 189: On February 4, 2014, defendant GABRIEL

 

7ZENDEJAS-CHAVEZ met with defendants RAFAEL LEMUS and MIGUEL
RODRIGUEZ, DMM-2, and others in defendant GABRIEL ZENDEJAS-CHAVEZ’
law office to discuss Eme business, including the passing of messages
to Eme members in California State Prison by defendant GABRIEL
ZENDEJAS-CHAVEZ, the passing of messages to defendant JOSE LANDA-
RODRIGUEZ, obtaining drugs for DMM-2 to have sold, and problems La
Eme was having with A.E., an Eme member in bad standing, and his
brother G.E. .

Possession of Mexican Mafia LACJ Correspondence

Overt Act No. 190: On February 17, 2014, defendant LUIS GARCIA

 

possessed kites that discussed Mexican Mafia sanctioned assaults, the
identity of Mexican Mafia LACJ Enterprise leaders within LACJ, and
reflected that defendant LUIS GARCIA was the highest ranking
shotcaller in LACJ for defendant JOSE LANDA-RODRIGUEZ.

Defendant GABRIEL ZENDEJAS-CHAVEZ Uses His Status as an Attorney to
Meet With and Pass Messages to Mexican Mafia Members in Pelican Bay

State Prison

Overt Act No. 191: On February 18, 2014, defendant GABRIEL

 

7FENDEJAS-CHAVEZ used his status as an attorney to visit and pass
messages to Mexican Mafia member 1, Mexican Mafia member 2, Mexican
Mafia member 3, Mexican Mafia member 4, and Mexican Mafia member 5.

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Overt Act No. 192: On February 18, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ attempted to smuggle a written message to a Mexican
Mafia member at the Security Housing Unit at Pelican Bay State

Prison.

Overt Act No. 193: On February 19, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ used his status as an attorney to visit and pass
messages to Mexican Mafia member 6, Mexican Mafia member 7, Mexican
Mafia member 8, Mexican Mafia member 9, and Mexican Mafia member 10.
Attorney GABRIEL ZENDEJAS-CHAVEZ and UICC-38 Discuss Collecting and
Laundering Mexican Mafia LACU Enterprise Proceeds

Overt Act No. 194: On March 27, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ, via text-message, directed UICC-38 to bring kitty

proceeds to his law office.

Overt Act No. 195: On April 9, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ, via text-message, directed UICC-38 to send him

$1,000.

Overt Act No. 196: On April 9, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ, via text-message, agreed to deliver $300 to each of
two Mexican Mafia members at the ADX Florence federal prison in

Colorado.

Overt Act No. 197: On April 10, 2014, defendant GABRIEL

 

7ZENDEJAS-CHAVEZ exchanged text messages with UICC-38 in which he
agreed to deliver $400 to two persons in Colorado and to keep $200

for himself.

Overt Act No. 198: On April 12, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ travelled to the ADX Florence federal prison in
Colorado to visit Mexican Mafia member 11.

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Overt Act No. 199: On April 14, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ, via text-message, provided defendant DONATO
GONZALES’ name and booking number to UICC-38 so she could forward
Mexican Mafia LACJ Enterprise proceeds to defendant DONATO GONZALES.

Overt Act No. 200: On April 18, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ told UICC-38 that he had money to return to her
because one of the Mexican Mafia members in Colorado could not have
visitors.

Defendant GABRIEL ZENDEJAS-CHAVEZ Facilitates the Extortion of the
Mongols Outlaw Motorcycle Gang and the Intimidation of a Victim of a
Jail Stabbing

Overt Act No. 201: On April 8, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ used his status as an attorney to meet defendant LUIS
GARCIA and discuss Mexican Mafia business including the Mexican
Mafia’s extortion of the Mongols outlaw motorcycle gang and that they
would be extorting the Mongols outlaw motorcycle gang for $100,000.

Overt Act No. 202: On April 8, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ agreed to travel to Pelican Bay State Prison on June
25, 2014, to get support for the extortion proposal from other

Mexican Mafia members.

Overt Act No. 203: On April 8, 2014, defendant GABRIEL

 

7ZENDEJAS-CHAVEZ agreed to contact unindicted co-conspirator 39
(“UICC-39”) to tell defendant LUIS GARCIA’s stabbing victim, M.A.,
not to cooperate with law enforcement in exchange for being taken off
the “Green Light” list.

Overt Act No. 204: On April 8, 2014, defendant GABRIEL

 

7ZENDEJAS-CHAVEZ explained to defendant LUIS GARCIA how to use the

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legal system to delay his trial in order to remain in LACJU as a

facilitator.

Overt Act No. 205: On April 9, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ, via text-message, directed UICC-38 to send him
$1,000 and UICC-39's phone number per the instructions of defendant

LUIS GARCIA.

Overt Act No. 206: On April 23, 2014, via text-message, UICC-38

 

sent defendant GABRIEL ZENDEJAS-CHAVEZ a phone number for the
national president of the Mongols outlaw motorcycle gang.

Overt Act No. 207: On June 25, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ used his status as an attorney to meet with and pass
messages to Mexican Mafia member 1, Mexican Mafia member 4, Mexican
Mafia member 6, Mexican Mafia member 8, and Mexican Mafia member 10
at Pelican Bay State Prison. :

Possession of Mexican Mafia LACJ Enterprise Correspondence Discussing

Drug Trafficking and Extortion

Overt Act No. 208: On April 14, 2014, defendant LUIS GARCIA

 

possessed in his cell in LACJ two razor blades, a syringe, and more
than 100 kites discussing Mexican Mafia LACJ Enterprise business,
including: (1) defendant LUIS GARCIA’s status as the highest ranking
shot-caller in LACJ; (2) the smuggling of drugs into LACJ; (3) the
thirds tax; (4) Green Dot numbers reflecting Mexican Mafia LACJ
Enterprise proceeds; and (5) a request from defendant ALVINO MUNOZ
that he be allowed to play a larger role in the smuggling of drugs

into LACJ on behalf of the Mexican Mafia LACJ Enterprise.

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Defendant MARK LANDEROS Collects Thirds Taxes

Overt Act No. 209: On February 13, 2014, defendant MARK

 

LANDEROS taxed R.H. the amount of approximately one-third of R.H.'s
drugs for the right to sell the remainder in LACJ.

Overt Act No. 210: On February 14, 2014, defendant MARK

 

LANDEROS taxed J.B. the amount of approximately one-third of J.B.’s
drugs for the right to sell the remainder in LACJ.

Overt Act No. 211: On February 14, 2014, defendant MARK

 

LANDEROS taxed U.R. the amount of approximately one-third of U.R.’s
drugs for the right to sell the remainder in LACJ.

Overt Act No. 212: On February 18, 2014, defendant MARK

 

LANDEROS taxed M.V. the amount of approximately one-third of M.V.’s
drugs for the right to sell the remainder in LACJ.

Overt Act No. 213: On March 1, 2014, defendant MARK LANDEROS

 

taxed L.M. the amount of approximately one-third of L.M.’s drugs for
the right to sell the remainder in LACJ. |

Overt Act No. 214: On March 2, 2014, defendant MARK LANDEROS

 

taxed P.C.-2 the amount of approximately one-third of P.C.-2's drugs
for the right to sell the remainder in LACJ.

Overt Act No. 215: On March 9, 2014, defendant MARK LANDEROS

 

taxed G.P. the amount of approximately one-third of G.P.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 216: On March 9, 2014, defendant MARK LANDEROS

 

accepted drugs that were confiscated by an unidentified unindicted

co-conspirator from a Sureno who did not pay the thirds tax.

 

Overt Act No. 217: On March 10, 2014, defendant MARK LANDEROS
taxed G.M. the amount of approximately one-third of G.M.’ drugs for
the right to sell the remainder in LACJ.

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Overt Act No. 218: On March 11, 2014, defendant

 

taxed J.G. the amount of approximately one-third of J.
the right to sell the remainder in LACJ.

Overt Act No. 219: On March 11, 2014, defendant

 

taxed N.G. the amount of approximately one-third of N.
the right to sell the remainder in LACJ.

Overt Act No. 220: On March 13, 2014, defendant

 

taxed J.S.-2 the amount of approximately one-third of
for the right to sell the remainder in LACJ.

Overt Act No. 221: On March 15, 2014, defendant

 

taxed R.V. the amount of approximately one-third of R.

the right to sell the remainder in LACJ.

 

Overt Act No. 222: On March 16, 2014, defendant
taxed D.A. the amount of approximately one-third of D.
the right to sell the remainder in LACJ.

Overt Act No. 223: On March 17, 2014, defendant

 

taxed R.R. the amount of approximately one-third of R.
the right to sell the remainder in LACJ.

Overt Act No. 224: On March 19, 2014, defendant

 

taxed H.G. the amount of approximately one-third of H.
the right to sell the remainder in LACJ.

Overt Act No. 225: On March 19, 2014, defendant

 

taxed D.A. the amount of approximately one-third of D
the right to sell the remainder in LACJ.

Overt Act No. 226: On March 23, 2014, defendant

 

taxed M.M. the amount of approximately one-third of M.
the right to sell the remainder in LACd.

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MARK LANDEROS

G.’s drugs for

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Overt Act No. 227: On March 25, 2014, defendant MARK LANDEROS

 

taxed J.E. the amount of approximately one-third of J.E.’s drugs for
the right to sell the remainder in LACd.

Overt Act No. 228: On March 25, 2014, defendant MARK LANDEROS

 

taxed J.A. the amount of approximately one-third of J.A.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 229: On April 4, 2014, defendant MARK LANDEROS

 

taxed J.M.-4 the amount of approximately one-third of J.M.-4’s drugs

for the right to sell the remainder in LACJ.

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Overt Act No. 230: On April 8, 2014,

 

taxed J.S.-2 the amount of approximately one-third of J.S.

for the right to sell the remainder in LACJ.

Overt Act No. 231: On April 8, 2014,

 

defendant MARK

LANDEROS

-2's drugs

defendant MARK LANDEROS

taxed J.H. the amount of approximately one-third of J.H.’s drugs for

the right to sell the remainder in LACJ.

Overt Act No. 232: On April 13, 2014, defendant

 

taxed R.O. the amount of approximately one-third of R.

the right to sell the remainder in LACJ.

Overt Act No. 233: On April 14, 2014,

 

taxed L.O. the amount of approximately one-third of L.

the right to sell the remainder in LACJ.

Overt Act No. 234: On April 15, 2014,

 

taxed J.P. the amount of approximately one-third of J.

the right to sell the remainder in LACJ.

Overt Act No. 235: On April 16, 2014,

 

taxed F.M. the amount of approximately one-third of F.

the right to sell the remainder in LACd.

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MARK

defendant

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LANDEROS

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MARK LANDEROS

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Overt Act No. 236: On April 16, 2014, defendant MARK LANDEROS

 

taxed M.G. the amount of approximately one-third of M.G.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 237: On April 17, 2014, defendant MARK LANDEROS

 

taxed S.M. the amount of approximately one-third of S.M.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 238: On April 18, 2014, defendant MARK LANDEROS

 

taxed R.E. the amount of approximately one-third of R.E.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 239: On April 22, 2014, defendant MARK LANDEROS

 

taxed R.A. the amount of approximately one-third of R.A.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 240: On April 24, 2014, defendant MARK LANDEROS

 

taxed R.C. the amount of approximately one-third of R.C.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 241: On April 24, 2014, defendant MARK LANDEROS

 

taxed defendant MIGUEL GARCIA the amount of approximately one-third
of defendant MIGUEL GARCIA’s drugs for the right to sell the

remainder in LACJ.

Overt Act No. 242: On April 26, 2014, defendant MARK LANDEROS

 

taxed P.M. the amount of approximately one-third of P.M.’s drugs for
the right to sell the remainder in LACJ.

Overt Act No. 243: On April 28, 2014, defendant MARK LANDEROS

 

possessed a ledger detailing his collection of the thirds tax.
Attempted Murder of J.B.-2 and Kidnapping and Assault and Attempted

Murder of C.R.

Overt Act No. 244: On December 16, 2013, an unidentified co-

 

conspirator repeatedly stabbed J.B.-2 in the head on defendant JOSE

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LANDA-RODRIGUEZ’s orders, in retaliation for defendant ALVARO RUIZ
defying defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 245: On or before April 21, 2014, defendant JOSE

 

LANDA-RODRIGUEZ sanctioned a kidnapping of C.R. in retaliation for
defendant ALVARO RUIZ defying defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 246: On April 21, 2014, defendant DAVID DIAZ sent

 

a coded text message to defendant DIANA MARTINEZ stating that C.R.
needed to be assaulted on Mexican Mafia LACJ Enterprise orders.

Overt Act No. 247: On April 22, 2014, defendants DIANA MARTINEZ

 

and DAVID DIAZ picked up C.R. from C.R.’s residence in the City of

Pomona and drove C.R. to defendant DAVID VILLALOBOS’ residence in San

‘Bernardino County so that defendant DAVID VILLALOBOS could detain and

assault C.R.

Overt Act No. 248: On April 22, 2014, defendant DAVID

 

VILLALOBOS obtained duct tape and attempted to restrain C.R. in the
garage of his residence in San Bernardino County so that he could
kill C.R.

Overt Act No. 249: On April 22, 2014, defendant DAVID

 

VILLALOBOS assaulted C.R. with the intent to kill C.R.
Smuggling of Heroin and Methamphetamine into LACJ

Overt Act No. 250: From April 18, 2014, through April 20, 2014,

 

defendants GABRIEL ZENDEJAS-CHAVEZ, DONATO GONZALES, and ALVARO RUIZ,
and unindicted co-conspirator Frank Herrera, arranged for heroin and
methamphetamine to be smuggled into MCJ.

Overt Act No. 251: On April 22, 2014, unindicted co-

 

conspirator Martin Salazar possessed and hid approximately 2.37 grams
of heroin and 7.75 grams of methamphetamine that had been smuggled

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into LACJ by unindicted co-conspirator Ramon Amaya on behalf of the
Mexican Mafia LACJ Enterprise.

Overt Act No. 252: Between April 25, 2014, and May 9, 2014,

 

defendant DONATO GONZALES wrote a kite to defendant LUIS GARCIA that
the “legal team” had sent drugs to defendant DONATO GONZALES and
asked defendant LUIS GARCIA to look out for those drugs.

Overt Act No. 253: On June 2, 2014, defendant DONATO GONZALES

 

wrote a coded letter, disguised as legal mail, to defendant GABRIEL
ZENDEJAS-CHAVEZ stating that he had not received the heroin and
methamphetamine.

Defendant GABRIEL ZENDEJAS-CHAVEZ Uses His Status as an Attorney to
Pass Mexican Mafia Orders Regarding Assaults, Murder, and Drug
Trafficking

Overt Act No. 254: On April 22, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ used his status as an attorney to meet with defendant
LUIS GARCIA and pass an order that “Dreamer” from the 18th Street
gang, “Demon” from 18th Street gang, and “Blanco” from the VNE gang
be assaulted or killed, pass messages from Mexican Mafia members at
the ADX Florence federal prison, discuss other Mexican Mafia business
including obtaining drugs from Mexican drug cartels, and report that
he would be travelling to Mexico to work on an alliance with a drug
cartel.

Overt Act No. 255: Between May 5, 2014, and May 11, 2014,

 

defendant GABRIEL ZENDEJAS-CHAVEZ travelled to Mexico.
Defendant GABRIEL ZENDEJAS-CHAVEZ Used his Status to Pass Mexican

Mafia Messages to JOSE LANDA-RODRIGUEZ

 

Overt Act No. 256: On April 22, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ used his status as an attorney to meet with defendant

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JOSE LANDA-RODRIGUEZ and pass a message from Mexican Mafia member 11
that Federal Mexican Mafia members would not be recognizing three
State Mexican Mafia members as brothers.

Overt Act No. 257: On April 22, 2014, during his meeting with

 

defendant JOSE LANDA-RODRIGUEZ, defendant GABRIEL ZENDEJAS-CHAVEZ
passed a message from DMM-2 about removing A.E. from Mexican Mafia

membership.

Overt Act No. 258: Between April 22, 2014, and April 25, 2014,

 

defendant JOSE LANDA-RODRIGUEZ passed a message to defendant DONATO
GONZALES to confirm that A.E. was being removed from Mexican Mafia
membership.

Overt Act No. 259: From April 25, 2014, through May 9, 2014,

 

defendant JOSE LANDA-RODRIGUEZ directed defendant LUIS GARCIA to have
defendant GABRIEL ZENDEJAS-CHAVEZ use his status as an attorney to
obtain documentation that a Mexican Mafia associate was cooperating
with law enforcement to justify the murder of that Mexican Mafia
associate.

Possession of Methamphetamine

 

Overt Act No. 260: On April 30, 2014, defendant DIANA MARTINEZ

 

drove defendant GERARDO TAPIA to pick up approximately four pounds,
or 1,746 grams, of methamphetamine for further distribution.

Overt Act No. 261: On April 30, 2014, defendant GERARDO TAPIA

 

possessed approximately four pounds, or 1,746 grams, of
methamphetamine for further distribution.
Defendant GABRIEL ZENDEJAS-CHAVEZ Uses His Status as an Attorney to

Discuss Mexican Mafia Business

 

Overt Act No. 262: On April 28, 2014, and May 5, 2014,

 

defendant GABRIEL ZENDEJAS-CHAVEZ used his status as an attorney to

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meet separately with defendants LUIS GARCIA, DONATO GONZALES, and
JOSE LANDA~RODRIGUEZ at LACJ.

Overt Act No. 263: On April 28, 2014, and May 5, 2014, in

 

meetings at LACJ, defendant. GABRIEL ZENDEJAS-CHAVEZ informed
defendant LUIS GARCIA: that Federal Mexican Mafia members at the ADX
Florence federal prison had not voted for Mexican Mafia membership
for “Psycho”; that Mexican Mafia member 11 had placed NWoLE” in
charge of the 18th Street gang; that Mexican Mafia member 9 had
advised that Deceased Mexican Mafia members 3 and 4 were feuding, and
to not get dragged into the feud; and to hold off on the assaults of
“Dreamer” from the 18th Street gang, “Demon” from 18th Street gang,
and “Blanco” from the VNE gang, that they had previously discussed.
Possession of Methamphetamine, Including Methamphetamine to be

Smuggled into LACJ

 

Overt Act No. 264: On May 9, 2014, defendant GERARDO TAPIA

 

possessed approximately 558.6 grams of methamphetamine in his
residence with the intent to distribute the methamphetamine,
including to smuggle some of it into LACuJ.

Overt Act No. 265: On May 9, 2014, DMM-2 possessed, in

 

defendant GERARDO TAPIA’s residence, a letter concerning Mexican
Mafia business written by DMM-2 and Green Dot numbers related to
Mexican Mafia LACJ Enterprise activities.

JOSE LANDA-RODRIGUEZ Orders the Assault of Mark Landeros and the

Distribution of Mexican Mafia Proceeds

 

Overt Act No. 266: Between April 25, 2014, and May 9, 2014,

 

defendant JOSE LANDA-RODRIGUEZ ordered defendant LUIS GARCIA to
assault and fine MARK LANDEROS for violating Mexican Mafia rules, to

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remove him as the shotcaller and to place another person as a
shotcaliler.

Overt Act No. 267: Between April 25, 2014, and May 9, 2014,

 

defendant JOSE LANDA-RODRIGUEZ directed the payment of thousands of
dollars of Mexican Mafia proceeds to other members.
Defendant GABRIEL ZENDEJAS-CHAVEZ Informs Others that LUIS GARCIA had

Dropped Out of the Mexican Mafia

 

Overt Act No. 268: On May 28, 2014, in a recorded telephone

 

call, defendants GABRIEL ZENDEJAS-CHAVEZ and JOSE LANDA-RODRIGUEZ
discussed the fact that defendant LUIS GARCIA had “dropped-out” of
the Mexican Mafia and should not be included in Mexican Mafia
business any longer.

Overt Act No. 269: From May 28, 2014, through at least May 30,

 

2014, defendant GABRIEL ZENDEJAS-CHAVEZ informed other co-
conspirators that defendant LUIS GARCIA had “dropped-out” of the
Mexican Mafia.

Overt Act No. 270: Between May 18, 2014, and July 16, 2014,

 

defendant GABRIEL ZENDEJAS-CHAVEZ wrote, in correspondence disguised
as legal mail, to Mexican Mafia member 12 at Pelican Bay State Prison
that defendant LUIS GARCIA had “dropped-out” of the Mexican Mafia.
HECTOR DUARTE and NANCY DUARTE Carry out Mexican Mafia LACJ
Enterprise Business at NCCF on behalf of DMM-2

Overt Act No. 271: From at least July 6, 2014, through November

 

10, 2014, DMM-2 directed defendant HECTOR DUARTE to run NCCF on
behalf of the Mexican Mafia LACJ Enterprise; defendant HECTOR DUARTE
collected kitty money, assigned fines as discipline, ordered assaults
to maintain discipline, and passed messages to defendant NANCY DUARTE
to be passed to DMM-2’s secretary, defendant MIGUEL RODRIGUEZ.

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Overt Act No. 272: From at least July 6, 2014, through October

 

23, 2014, defendant NANCY DUARTE assisted defendant HECTOR DUARTE in
running the Mexican Mafia LACJ Enterprise’s activities in NCCE on
behalf of DMM-2, including by passing messages between defendant
HECTOR DUARTE and defendant MIGUEL RODRIGUEZ, who was DMM~-2’ s
secretary.

Overt Act No. 273: On July 6, 2014, in a recorded telephone

 

conversation, defendant HECTOR DUARTE told defendant NANCY DUARTE
that, based on information from defendant CHRIS FERREIRA, an unknown
Hispanic gang member was to be assaulted and extorted for $1,000 for
dealing with African-American inmates.

Overt Act No. 274: On July 25, 2014, in a recorded telephone

 

conversation, defendant CHRIS FERREIRA relayed Green-Dot card numbers
to defendant NANCY DUARTE representing $425 in Mexican Mafia LACJ

Enterprise extortion money.

Overt Act No. 275: On August 4, 2014, defendant NANCY DUARTE

 

directed an unknown floor shot-caller within NCCF to send
“everything,” that is, the drug and extortion money, to defendant
HECTOR DUARTE because defendant HECTOR DUARTE was in charge of NCCE

for DMM-2.

Overt Act No. 276: On August 6, 2014, defendant HECTOR DUARTE

 

gave defendant NANCY DUARTE a Green Dot number representing kitty

proceeds.

Overt Act No. 277: On August 15, 2014, in a recorded telephone

 

conversation, defendants MIGUEL RODRIGUEZ, HECTOR DUARTE, and NANCY
DUARTE discussed Mexican Mafia LACJ Enterprise matters including
defendant NANCY DUARTE giving defendant MIGUEL RODRIGUEZ Green Dot
numbers representing proceeds from Mexican Mafia LACJ Enterprise

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activities, and discipline to be imposed on an unknown Hispanic gang
member because the unknown Hispanic gang member had “dropped-out” and
gone into protective custody.

Overt Act No. 278: On August 15, 2014, in a recorded telephone

 

conversation, defendant HECTOR DUARTE asked defendant MIGUEL
RODRIGUEZ how much discipline to impose on an unknown Hispanic gang
member, and defendant MIGUEL RODRIGUEZ conferred with DMM-2 then told
defendant HECTOR DUARTE how to administer discipline and to decide on
an amount for a fine.

Overt Act No. 279: On August 15, 2014, ina recorded telephone

 

conversation, defendant HECTOR DUARTE stated that he would impose a
$10,000 fine and order that an unknown Hispanic gang member be beaten

three times for 39 seconds.

Overt Act No. 280: On August 15, 2014, ina recorded telephone

 

conversation, defendant MIGUEL RODRIGUEZ directed defendant HECTOR
DUARTE to control the Mexican Mafia LACJ Enterprise’s activities in
the south and north facilities of NCCF.

Overt Act No. 281: On August 15, 2014, in a recorded telephone

 

conversation, defendant NANCY DUARTE relayed messages between
defendant HECTOR DUARTE and defendant MIGUEL RODRIGUEZ and DMM-2
about discipline of an unknown Hispanic gang member and other Mexican
Mafia LACJ Enterprise business.

Overt Act No. 282: On August 20, 2014, in a recorded telephone

 

conversation, defendants HECTOR DUARTE, NANCY DUARTE, and MIGUEL
RODRIGUEZ discussed Mexican Mafia LACJ Enterprise matters; defendant
HECTOR DUARTE gave defendant NANCY DUARTE Green Dot numbers
representing kitty proceeds; defendant MIGUEL RODRIGUEZ told
defendant HECTOR DUARTE that DMM-2 was upset about not receiving

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$10,000 in fine money and that the north facility of NCCF was a month
behind in making their payments; and defendant MIGUEL RODRIGUEZ
informed defendant HECTOR DUARTE that DMM-2 wanted the shot-caller
for the north facility to be changed.

Overt Act No. 283: On August 31, 2014, in a recorded telephone

 

call, defendant HECTOR DUARTE relayed Green Dot card numbers to
defendant NANCY DUARTE representing $385 in Mexican Mafia LACJ
Enterprise extortion money.

Overt Act No. 284: On August 31, 2014, in a recorded telephone

 

call, defendant HECTOR DUARTE directed defendant NANCY DUARTE that a
Sureno was to be assaulted for losing Mexican Mafia LACJ Enterprise

extortion money.

Overt Act No. 285: On October 23, 2014, defendant NANCY DUARTE

 

possessed ledgers containing her records of Mexican Mafia LACJd
Enterprise kitty, drug, and fine debts and payments.
Directions to Send Mexican Mafia LACJ Enterprise Business and
Proceeds Through Defendant GABRIEL ZENDEJAS-CHAVEZ

Overt Act No. 286: On August 30, 2014, unindicted co-

 

conspirator 43 (“UICC-43”) possessed a kite written by another
unknown co-conspirator directing that Mexican Mafia LACJ Enterprise
proceeds from drug sales in LACJ and kitty money from LACJ should be
sent to defendant GABRIEL ZENDEJAS-CHAVEZ and directing that
defendant ERNESTO VARGAS be recognized as having the authority to run
NCCF.

Assault and Extortion of M.C. for Interfering with Mexican Mafia LACJ

Enterprise Extortion

 

Overt Act No. 287: From August 20, 2014, and September 26,

 

2014, defendants GAIL PONCE, DAVID BERNARDINO, HECTOR DUARTE, and

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NANCY DUARTE processed the proceeds of the Mexican Mafia LACJ
Enterprises extortion and drug trafficking activities using Green Dot

accounts.

Overt Act No. 288: On September 1, 2014, in a recorded

 

telephone call, defendant DAVID BERNARDINO reported to defendant GAIL
PONCE that a Paisa was taxing inmates and asked defendant GAIL PONCE
to get instructions from defendants HECTOR DUARTE and NANCY DUARTE as

to how to deal with the Paisa.

 

Overt Act No. 289: On September 1 or 2, 2014, defendant GAIL
PONCE told defendant NANCY DUARTE that defendant DAVID BERNARDINO
wanted instructions on how to deal with the Paisa who was taxing
inmates.

Overt Act No. 290: On September 2, 2014, in a recorded

 

telephone call, defendant NANCY DUARTE told defendant HECTOR DUARTE
about the Paisa who was taxing inmates and asked if defendant HECTOR
DUARTE wanted the Paisa to be assaulted.

Overt Act No. 291: On September 2, 2014, in a recorded

 

telephone call, defendant HECTOR DUARTE told defendant NANCY DUARTE
that defendant DAVID BERNARDINO should investigate which Mexican
Mafia member the Paisa claims to work for and to assault the Paisa

for 39 seconds.

Overt Act No. 292: On September 2 or 3, 2014, defendant NANCY

 

DUARTE passed along to defendant GAIL PONCE defendant HECTOR DUARTE’ s
message that defendant DAVID BERNARDINO should investigate which
Mexican Mafia member the Paisa claims to work for and to assault the

Paisa for 39 seconds.

Overt Act No. 293: On September 3, 2014, in a recorded

 

telephone call, defendant GAIL PONCE passed along to defendant DAVID

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BERNARDINO defendant HECTOR DUARTE’s message that defendant DAVID
BERNARDINO should investigate which Mexican Mafia member the Paisa
claimed to work for and to assault the Paisa for 39 seconds.

Overt Act No. 294: On September 3 or 4, 2014, defendant DAVID

 

BERNARDINO ordered that the Paisa, now known to be M.C., be

assaulted.

Overt Act No. 295: On September 4, 2014, unindicted co-

 

conspirators assaulted M.C. as discipline for disrespecting Mexican
Mafia LACJ Enterprise’s authority.

Overt Act No. 296: On September 5, 2014, in a recorded

 

telephone call, defendant DAVID BERNARDINO reported to defendant GAIL
PONCE that the Paisa, Marco Calderon, had been assaulted, but that
the assault was not completed because Marco Calderon screamed and
deputies interceded before the assault “could really get going.”
Assault of E.O to Collect an Extortion Debt

Overt Act No. 297: On September 7, 2014, in a recorded

 

telephone call, defendant MIGUEL RODRIGUEZ directed HECTOR DUARTE to
have F.O. assaulted for failing to pay the Mexican Mafia LACJ
Enterprise’s thirds tax and for lying about doing so under the
authority of another Mexican Mafia member.

Overt Act No. 298: On September 8, 2014, defendant HECTOR

 

DUARTE ordered that E.0O. be assaulted and his drugs were to be

confiscated because E.O. had lied about another Mexican Mafia member

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“blessing” the drugs.

Overt Act No. 299: On September 9, 2014, unindicted co-

 

conspirators assaulted E.O. as discipline for violating Mexican
Mafia LACJ Enterprise rules.

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Overt Act No. 300: On September 11, 2014, unindicted co-

 

conspirators assaulted E.O. as discipline for violating Mexican Mafia

LACJ Enterprise rules.
Conspiracy to Remove Mexican Mafia Member A.E. From Power and to Take

Over His Territories

 

Overt Act No. 301: On or before April 25, 2014, defendant JOSE

 

LANDA-RODRIGUEZ wrote a kite to defendant DONATO GONZALES to inform
him that defendants JOSE LANDA-RODRIGUEZ, DMM-2, and other Mexican
Mafia members intended to strip Mexican Mafia membership from A. .

Overt Act No. 302: On or before April 25, 2014, defendant JOSE

 

LANDA-RODRIGUEZ wrote a kite to defendant LUIS GARCIA to inform him
that defendant JOSE LANDA-RODRIGUEZ, DMM-2, and other Mexican Mafia
members intended to strip Mexican Mafia membership from A.E.

Overt Act No. 303: On or before April 25, 2014, defendant

 

GABRIEL ZENDEJAS-CHAVEZ passed a message from DMM-2 to defendant JOSE
LANDA-RODRIGUEZ regarding the decision to strip Mexican Mafia
membership from A.E.

Overt Act No. 304: On June 30, 2014, in a recorded telephone

 

conversation, defendant JOSE LANDA-RODRIGUEZ and unindicted co-
conspirator 45 (“UICC-44”) discussed threatening the life of D.C.
because of his alignment with Mexican Mafia member A.B. and his
collecting of taxes in areas controlled by defendant JOSE LANDA-

RODRIGUEZ.

Overt Act No. 305: In or around August 2014, defendants GABRIEL

 

ZENDEJAS-CHAVEZ, RAFAEL LEMUS, ERNESTO VARGAS, and MIGUEL RODRIGUEZ
met at defendant GABRIEL ZENDEJAS-CHAVEZ’ law office and discussed
A.E. being removed from the Mexican Mafia and other members taking

over his territories.

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Overt Act No. 306: On September 14, 2014, an unknown co-

 

conspirator killed D.C. because of his alignment with A.E. and his
collection of taxes in areas controlled by defendant JOSE LANDA-

RODRIGUEZ.

Overt Act No. 307: On October 22, 2014, defendant MIGUEL

 

RODRIGUEZ passed a message to defendant JOSE LANDA-RODRIGUEZ from
defendant RAFAEL LEMUS that Mexican Mafia members were in agreement
about stripping A.E. of his membership and taking over his
territories. |

Overt Act No. 308: On November 11, 2014, an unknown co-

 

conspirator killed D.E. because of his alignment with A.E.
Defendant GABRIEL ZENDEJAS-CHAVEZ Used His Status as an Attorney to
Pass Messages About Mexican Mafia Business

Overt Act No. 309: On September 2, 2014, September 3, 2014, and

 

October 1, 2014, defendant GABRIEL ZENDEJAS-CHAVEZ used his status as
an attorney to visit ten Mexican Mafia members at Pelican Bay State

Prison, including Mexican Mafia member 4, and pass messages about new
Mexican Mafia members and about the identity of possible cooperators.

Overt Act No. 310: Between October 1, 2014, and October 22,

 

2014, after visiting Pelican Bay State Prison, defendant GABRIEL
7ZENDEJAS-CHAVEZ reported to defendants RAFAEL LEMUS and MIGUEL
RODRIGUEZ that: defendant GABRIEL ZENDEJAS-CHAVEZ had found paperwork
that defendant LUIS GARCIA, unindicted co-conspirator 45 (“UICC-45”),
and UICC-38 were cooperating with law enforcement; Mexican Mafia
Member 4 confirmed that “Cartoon” from the Canta Ranas gang was now a
Mexican Mafia member; and A.E. had been stripped of his territories.

Overt Act No. 311: On or before October 22, 2014, defendant

 

MIGUEL RODRIGUEZ wrote a kite at the direction of DMM-2’s secretary,

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defendant RAFAEL LEMUS, stating that defendant GABRIEL ZENDEJAS—
CHAVEZ had found paperwork that defendant LUIS GARCIA, UICC-38, and
UICC-45 were cooperating with law enforcement, that “Cartoon” from
the Canta Ranas gang was now an Eme member, that A.E. had been
stripped of his territories, and that the accompanying drugs belonged
to DMM-2 and Mexican Mafia member 13.

Smuggling of Heroin and Mexican Mafia LACJ Enterprise Correspondence
into LACJ

Overt Act No. 312: On or before October 21, 2014, defendant

 

MIGUEL RODRIGUEZ directed unindicted co-conspirator Marco Meza to
smuggle drugs and a kite into LACJ on behalf of DMM-2.

Overt Act No. 313: On October 22, 2014, at the direction of

 

defendant MIGUEL RODRIGUEZ, unindicted co-conspirator Marco Meza
smuggled approximately 18.82 grams of heroin into LACJ on behalf of
the Mexican Mafia.

Overt Act No. 314: On October 22, 2014, unindicted co-

 

conspirator Marco Meza possessed a kite from defendant MIGUEL
RODRIGUEZ to defendant JOSE LANDA-RODRIGUEZ discussing Mexican Mafia
LACJ Enterprise business, including the identity of potential
cooperators as determined by defendant GABRIEL ZENDEJAS-CHAVEZ, the
identity of a new Mexican Mafia member, and the standing of other
Mexican Mafia members.

Possession of Heroin to be Smuggled into LACJ

Overt Act No. 315: On October 23, 2014, defendant MIGUEL

 

RODRIGUEZ possessed approximately 25.78 grams of heroin at his
residence with the intent to distribute it to other persons,
including by smuggling into LACuJ.

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Possession of Methamphetamine, Heroin, and Cocaine, Including to be
Smuggled into LACJ and Possession of a Firearm

Overt Act No. 316: On October 24, 2014, defendant ERNESTO

 

VARGAS possessed approximately 601.2 grams of methamphetamine,
approximately 501.3 grams of heroin, approximately 83.4 grams of
cocaine, and approximately 1.4 grams of cocaine base in the form of
crack cocaine with the intent to distribute to others, including by
smuggling into LACJ, for the benefit of the Mexican Mafia LACJ
Enterprise.

Overt Act No. 317: On October 24, 2014, defendant ERNESTO

 

VARGAS possessed a firearm, namely, a Kimber model Custom 2 .45
caliber pistol, and ammunition, in order to protect narcotics for the
benefit of the Mexican Mafia LACU Enterprise.

Attorney GABRIEL ZENDEJAS-CHAVEZ Passes Mexican Mafia Messages

Overt Act No. 318: On October 30, 2014, defendant GABRIEL

 

ZENDEJAS-CHAVEZ visited Mexican Mafia member 11 at the ADX Florence
federal prison in Colorado and showed secret messages to Mexican
Mafia member 11.

Assaults of R.B. and M.G.

 

Overt Act No. 319: On August 22, 2015, in a recorded telephone

 

conversation, defendant GENESSIS BLANCO told unindicted co-
conspirator 48 (“UICC-48”) to tell defendant ANDREW PINEDA to have
R.B. assaulted because he was not recognizing the authority of DMM-2
and was interfering with Mexican Mafia LACJ Enterprise activities,
including drug trafficking and extortion.

Overt Act No. 320: On August 22, 2015, in a recorded telephone

 

conversation, defendant ANDREW PINEDA told defendant GENESSIS BLANCO
that M.G. was causing problems by not respecting the authority of

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DMM-2 and interfering with Mexican Mafia LACJ Enterprise activities,

including drug trafficking and extortion.

 

Overt Act No. 321: On August 22, 2015, in a recorded telephone
conversation, defendant GENESSIS BLANCO told defendant ANDREW PINEDA
to have M.G. assaulted because he was not recognizing the authority
of DMM-2 and was interfering with Mexican Mafia LACJU Enterprise
activities, including drug trafficking and extortion.

Overt Act No. 322: On August 22, 2015, defendant ANDREW PINEDA

 

ordered that R.B. and M.G. be assaulted for not recognizing the
authority of DMM-2 and interfering with Mexican Mafia LACJ Enterprise
activities, including drug trafficking and extortion.

Overt Act No. 323: On August 23, 2015, unindicted co-

 

conspirators assaulted R.B. and M.G..

Overt Act No. 324: On and before October 23, 2015, defendant

 

GENESSIS BLANCO possessed records of the Mexican Mafia LACJ
Enterprises activities, including records of extortion and drug
trafficking.

Murder of P.C.

Overt Act No. 325: On April 5, 2015, in a recorded telephone

 

conversation, defendant ALVINO MUNOZ discussed a dispute over
neighborhood taxation and fines of Echo Park gang members with P.C.,
and P.C. told defendant ALVINO MUNOZ that he takes orders from
another Mexican Mafia member and would not talk to defendant ALVINO
MUNOZ about it, and would only talk to defendant JOSE LANDA-

RODRIGUEZ.

Overt Act No. 326: On April 5, 2015, ina recorded telephone

 

conversation, defendant ALVINO MUNOZ discussed with unindicted co-
conspirator 50 (“UICC-50”) the dispute with P.C.

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Overt Act No. 327: On April 27, 2015, defendant SAMANTHA RIVERA

 

initiated a three-way call from defendant JOSE LANDA~-RODRIGUEZ to
Mexican Mafia member 14 and DMM-2, and in a recorded telephone
conversation, defendant JOSE LANDA-RODRIGUEZ discussed with Mexican
Mafia member 14 that defendant ALVINO MUNOZ had sent someone to
collect the fines of Echo Park gang members, but P.C. was interfering
with the collection of the fine and was disrespectful to defendant
ALVINO MUNOZ.

Overt Act No. 328: On April 27, 2015, in the three-way call

 

initiated by defendant SAMANTHA RIVERA, defendant JOSE LANDA-

RODRIGUEZ discussed with DMM-2 that P.C. was interfering in his

business and tried to push a “hard line” with defendant ALVINO MUNOZ.

Overt Act No. 329: On July 19, 2015, in a recorded telephone

 

conversation, defendant ALVINO MUNOZ and UICC-50 discussed that P.cC.
had blocked the payment of a fine, UICC-50 stated that P.C. worked
for another Mexican Mafia member, and defendant ALVINO MUNOZ told
UICC-50 to shut down P.C.’s activities.

Overt Act No. 330: On July 19, 2015, in a recorded telephone

 

conversation, defendant JOSH LANDA-RODRIGUEZ told defendant SAMANTHA
RIVERA that P.C. is interfering and that defendant SAMANTHA RIVERA
and Mexican Mafia member 4 should talk to him.

Overt Act No. 331: On July 19, 2015, in coded language during a

 

recorded telephone conversations, UICC-9, on defendant JOSE LANDA-
RODRIGUEZ’ orders, told unindicted co-conspirator 51 (“urcc-51”) the
following: that P.C. was defying defendant JOSE LANDA-RODRIGUE4; that
defendant JOSE LANDA-RODRIGUEZ was angry; to meet with P.C. and
“teach him a little lesson”; to tell P.C. to stay on his side of “the
bridge”; that P.C. was on the “Green Light” list; that defendant JOSE

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LANDA-RODRIGUEZ wants P.C. “cut loose”; that defendant JOSE LANDA-
RODRIGUEZ’ decision is “final”; that there will be punishment for
disregarding what defendant JOSE LANDA-RODRIGUEZ said; that UICC-51
should contact DMM-2 to confirm the order; and that defendant JOSE
LANDA-RODRIGURZ was very angry, “pacing back and forth” and wanted to
teach P.C. a lesson.

Overt Act No. 332: On July 26, 2015, in a recorded telephone

 

conversation, UICC-9 told UICC-51 that defendant JOSE LANDA-RODRIGUEZ
put P.C. on the Green Light list and told UICC-51 to have an
unidentified co-conspirator lure P.C. in.

Overt Act No. 333: On November 21, 2015, unknown co-

 

conspirators shot and killed P.C.
Defendant RAFAEL LEMUS Assists Robert Ruiz in Running Mexican Mafia
LACJ Enterprise Business, Including Drug Trafficking and Extortion

Overt Act No. 334: Beginning in or prior to February 2014, and

 

continuing until at least May 2015, defendant RAFAEL LEMUS assisted
DMM-2 in running Mexican Mafia LACJ Enterprise business. Defendant
RAFAEL LEMUS assisted in obtaining drugs from Mexico and passed
messages from DMM-2 to others including to and from defendant GABRIEL
ZENDEJAS-CHAVEZ.

Overt Act No. 335: On February 11, 2015, in a recorded

 

telephone conversation, defendant RAFAEL LEMUS told an associate of
A.E. that the areas formerly controlled by A.E. now belonged to
defendant JOSE LANDA-RODRIGUEZ, DMM-2, and their associates.

Overt Act No. 336: On May 8, 2015, defendant RAFAEL LEMUS

 

possessed approximately $11,500 and Mexican Mafia-related

correspondence at his residence.

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Overt Act No. 337: On November 20, 2015, in a recorded

 

telephone conversation, defendant HECTOR DUARTE explained to UICC-5
the money he collected as a shotcaller in NCCF. \

Overt Act No. 338: On November 20, 2015, UICC-5 connected

 

defendant RAFAEL LEMUS into a three-way call with defendant HECTOR

DUARTE.

Overt Act No. 339: On November 20, 2015, in a recorded

 

telephone conversation, defendant RAFAEL LEMUS told defendant HECTOR
DUARTE that he would investigate HECTOR DUARTE’s “numbers,” that is,
the amount of Mexican Mafia LACJ Enterprise drug trafficking and
extortion proceeds he forwarded, and asked HECTOR DUARTE if anyone
could verify his numbers.

Overt Act No. 340: On November 20, 2015, in a recorded

 

telephone conversation, defendant RAFAEL LEMUS told defendant HECTOR
DUARTE that UTCC-5 is the “Senora” for DMM-2, that people should
listen to UICC-5, and that failure to recognize UICC-5 will result in
an assault.

Overt Act No. 341: On November 22, 2015, in a recorded

 

telephone conversation, defendant RAFAEL LEMUS told defendant ANDREW
PINEDA and UICC-5 that defendant MIGUEL RODRIGUEZ has no status with
the Mexican Mafia LACUJ Enterprise and that anyone using defendant
MIGUEL RODRIGUEZ’ name will be assaulted.

Overt Act No. 342: On November 22, 2015, in a recorded

 

telephone conversation, defendant RAFAEL LEMUS stated that he has the
authority to appoint secretaries, that he appointed UICC-5, and that
anyone who gives UICC-5 trouble will “hear from him” and have
problems that follow them outside of LACJ.

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Smuggling of Methamphetamine and Heroin into LACJ

Overt Act No. 343: From August 19, 2015, through September 1,

 

2015, defendants ALVINO MUNOZ and KELLY JO BELL, and unindicted co-
conspirator Robert Ramirez, arranged to smuggle drugs into LACJ for
the benefit of defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 344: On August 19, 2015, in a recorded telephone

 

conversation, defendants ALVINO MUNOZ and KELLY JO BELL discussed
smuggling drugs into LACJ.

Overt Act No. 345: On August 28, 2015, in a recorded telephone

 

conversation, defendant KELLY JO BELL told defendant ALVINO MUNOZ
that she was on her way to deliver drugs to the individual who would

smuggle them into LACJ.

Overt Act No. 346: On August 28, 2015, defendant KELLY JO BELL

 

delivered approximately 41.8 grams of methamphetamine to unindicted
co-conspirator Alejandro Martinez to smuggle into LACJ for defendant
JOSE LANDA-RODRIGUEZ.

Overt Act No. 347: On September 1, 2015, in a recorded

 

telephone conversation, unindicted co-conspirator Robert Ramirez
discussed with another unindicted co-conspirator the fact that
unindicted co-conspirator Alejandro Martinez had the drugs to be
smuggled into LACJ for defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 348: On August 30, 2015, unindicted co-

 

conspirator Alejandro Martinez possessed approximately 41.8 grams of
methamphetamine and 61.83 grams of heroin inside his body and got
himself arrested in order to bring the methamphetamine and heroin
into LACd.

Overt Act No. 349: On September 1, 2015, in a recorded

 

telephone conversation, defendant KELLY JO BELL learned that an

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unindicted co-conspirator inside LACJ knew about unindicted co-
conspirator Alejandro Martinez smuggling drugs into LACJ, had located
unindicted co-conspirator Alejandro Martinez , and would keep
defendant KELLY JO BELL updated as to the status of the drugs.

Overt Act No. 350: On October 14, 2015, defendant KELLY JO BELL

 

possessed approximately 12.0 grams of methamphetamine and ledgers
regarding Mexican Mafia LACJ Enterprise business.
Assault of C.G. for Interfering with Drug Trafficking and Extortion

Overt Act No. 351: On January 16, 2016, in a recorded telephone

 

call, defendant MARK LANDEROS and UICC-6 discussed having C.G.
assaulted in retaliation for C.G. attempting to take control of LACJ
away from defendant JOSE LANDA-RODRIGUEZ.

Overt Act No. 352: On January 16, 2016, in a recorded telephone

 

call, at defendant MARK LANDEROS’ direction, UICC-6 called an
unindicted co-conspirator and relayed defendant MARK LANDEROS’ order
that C.G. was to be assaulted.

Overt Act No. 353: On January 16, 2016, in a recorded telephone

 

call, UICC-6 relayed an unindicted co-conspirator’s message that C.G.
was working under the orders of other Mexican Mafia members.

Overt Act No. 354: On January 16, 2016, UICC-6 relayed a

 

message to UICC-16 that C.G. was to be assaulted under the authority
of defendant JOSE LANDA-RODRIGUEZ for interfering with Mexican Mafia
LACJI Enterprise operations, including drug trafficking and extortion.

Overt Act No. 355: On January 16, 2016, in a recorded telephone

 

call, UICC-16 relayed the order that C.G. was to be assaulted to
UICC-12, a shot-caller in LACJ.
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Overt Act No. 356: On January 26, 2016, on the orders from

 

defendant MARK LANDEROS and UICC-12, unindicted co-conspirators
assaulted C.G. at the direction of the Mexican Mafia LACU Enterprise.

G. SPECIAL SENTENCING ALLEGATIONS

 

11. Beginning on a date unknown to the Grand Jury, and
continuing to on or about the date of this Indictment, in Los Angeles
County, within the Central District of California, and elsewhere,
defendants JOSE LANDA-RODRIGUEZ, LUIS VEGA, GABRIEL ZENDEJAS-CHAVEZ,
RAFAEL LEMUS, LUIS GARCIA, ALVINO MUNOZ, DANIEL CERVANTES, MIGUEL,
CALDERON, ERNESTO VARGAS, MIGUEL RODRIGUEZ, GILBERT PARRA, GHRARDO
TAPIA, DONATO GONZALES, MIGUEL GARCIA, HECTOR DUARTE, SAMANTHA
RIVERA, MARK LANDEROS, JONATHAN VERDEJA, CECILIA VIRGEN, LAUREEN —
GARCIA, NANCY DUARTE, VALERIE TREJO, GENESSIS BLANCO, KELLY JO BELL,
JOSE FLORES, MARK LEVY, VALENTIN CORDOVA, FRANKIE MEGORADO, JOSE
OLEA, MANUEL JIMENEZ, ALAVARO LEYVA, CHRIS FERREIRA, DAVID
BERNARDINO, ANDREW PINEDA, ALONDRA GOMEZ, MIRIAM MEZA, ANA MARTINEZ,
ALVARO RUIZ, ADRIAN ARATIZA, GAIL PONCE, DIANA MARTINEZ, MARLON |
CORNEJO, ANGEL SANCHEZ, JUAN REYES, RICHARD BAILEY, MICHAEL BENNETT,
and EDWIN AYALA, and others known and unknown to the Grand Jury,
conspired and agreed with each other to knowingly and intentionally
(i) distribute, and (ii) possess with intent to distribute:

a. at least 500 grams of a mixture and substance
containing a detectable amount of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code,
Sections 846 and (b) (1) (A) (viil);

b. at least 50 grams of methamphetamine, a Schedule II
controlled substance, in violation of Title 21, United States Code,
Sections 846 and (b) (1) (A) (viii);

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Cc. at least a kilogram of a mixture and substance
containing a detectable amount of heroin, a Schedule I narcotic drug
controlled substance, in violation of Title 21, United States Code,
Sections 841(a) (1) and (b) (1) (A) (i).

12. On or about July 17, 2012, in Los Angeles County, within
the Central District of California, defendant LUIS VEGA unlawfully
willfully, deliberately, and with premeditation, attempted to |
intentionally kill an unknown Sureno with malice aforethought, in
violation of California Penal Code Sections 31, 187, 189, and 664.

13. Beginning no later than on or about December 1, 2012, and
continuing to on or about an unknown date, in Los Angeles County,
within the Central District of California, defendant LUIS VEGA
unlawfully, willfully, deliberately, and with premeditation,
attempted to intentionally kill J.R. with malice aforethought, in
violation of California Penal Code Sections 31, 187, 189, and 664.

14. On or about February 7, 2013, in Los Angeles County, within
the Central District of California, defendant LUIS GARCIA unlawfully,
willfully, deliberately, and with premeditation, attempted to
intentionally kill M.A. with malice aforethought, in violation of
California Penal Code Sections 31, 187, 189, and 664.

15. On or about December 16, 2013, in Los Angeles County,
within the Central District of California, defendants JOSE LANDA-
RODRIGUEZ and others unknown to the Grand Jury conspired unlawfully
to kill J.B.-2 with malice aforethought, in violation of California
Penal Code Sections 182 and 187.

16. From on or about April 5, 2015, through on,or about
November 21, 2015, in Los Angeles County, within the Central District
of California, defendants JOSE LANDA-RODRIGUEZ and others unknown to

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the Grand Jury conspired unlawfully to kill P.C. with malice
aforethought, in violation of California Penal Code Sections 182 and
187.On or about April 22, 2014, in Los Angeles and San Bernardino
Counties, within the Central District of California, defendants DAVID
VILLALOBOS and DAVID DIAZ unlawfully conspired to kill C.R. with
malice aforethought, in violation of California Penal Code Sections

182 and 187.

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COUNT TWO

[18 U.S.C. S§ 1959(a) (3), 2]

1. Paragraphs 1 through 13 of the General Allegations of this

Indictment and paragraphs 2 through 6 of Count One are hereby re-

herein.

2. At all times relevant to this Indictment,

alleged and incorporated by reference as though fully set forth

the Mexican Mafia

LACJ Enterprise including its leaders, members, and associates,

constituted an “enterprise,” as defined by Title 18, United States

Code, Section

1959(b) (2), that is, a group of individuals associated

in fact, although not a legal entity, which is engaged in, and the

activities of which affected, interstate and foreign commerce.

The

Mexican Mafia LACJ Enterprise constituted an ongoing organization

whose members
achieving the

3. 3.

functioned as a continuing unit for a common purpose of
objectives of the enterprise.

At all times relevant to this Indictment, the Mexican

Mafia LACJ Enterprise, through its members and associates, engaged in

racketeering activity,

Sections 1959 (b) (1)

multiple

a.
21a, 31, 182,
b.
Sections 21a,
Cc.
Sections 21a,

Sections 21a,

as defined in Title 18, United States Code,

and 1961(1), consisting of:

acts involving:

Murder, in violation of California Penal Code Sections

187, 189, and 664;

Kidnapping, in violation of California Penal Code

31, 182, 207, 209, and 664;

Robbery, in violation of California Penal Code

31, 182, 211, 212, 212.5, 213, 215, and 664;

Extortion, in violation of California Penal Code

31, 182, 518, 519, 524, and 664;

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multiple offenses involving:

e. the distribution of, possession with intent to
distribute, and conspiracy to possess with intent to distribute and
distribute controlled substances, including methamphetamine, heroin,
cocaine, cocaine base, and marijuana, in violation of Title 21,
United States Code, Sections 841(a) (1) and 846;

and multiple acts indictable under the following provisions of
federal law:

£. Title 18, United States Code, Section 1512, Tampering
with a Witness;

g. Title 18, United States Code, Section 1513,
Retaliating against a witness;

h. Title 18, United States Code, Sections 1956 and 1957,
Money Laundering;

i. Title 18, United States Code, Section 1028, Identity
Fraud; and

4. Title 18, United States Code, Section 1029, Access
Device Fraud.

4, On or about March 31, 2013, in Los Angeles County, within
the Central District of California, for the purpose of maintaining
and increasing position in the Mexican Mafia LACJ Enterprise, an
enterprise engaged in racketeering activity, defendants MARK
LANDEROS, also known as (“aka”) “Smokey,” aka “Troy,” aka “Hot,” and
JUAN LEONARD GARCIA, aka “Little John,” aka “Trevor,” unlawfully and
knowingly assaulted A.R. with a dangerous weapon, which assault
resulted in serious bodily injury, in violation of California Penal

Code Sections 21a, 664, 245(a) (1), (4).

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COUNT THREE
[18 U.S.C. § 1959(a) (6) ]

1. Paragraphs 1 through 13 of the General Allegations of this
Indictment, paragraphs 2 through 6 of Count One, and Paragraphs 2 and
3 of Count Two of this Indictment are hereby re-alleged and
incorporated by reference as though fully set forth herein.

2. On or about April 23, 2013, in Los Angeles County, within
the Central District of California, for the purpose of maintaining
and increasing position in the Mexican Mafia LACJ Enterprise, an
enterprise engaged in racketeering activity, defendants MARK
MARTINEZ, also known as (“aka”) “Brat,” AMO WEST, aka “Chico,” RAMTRO
ANDRADE, aka “Scrappy,” OSWALDO QUINTERO, aka “Sporty,” NICHOLAS
ESCARCEGA, aka “Tweeks,” CHRISTIAN FUENTES, aka “Nino,” FRANCISCO
RUIZ, aka “Pancho,” aka “Scooby,” and JOSE VERA, aka “Sapo,” and
others known and unknown to the Grand Jury, unlawfully and knowingly
conspired to commit assault resulting in serious bodily injury
against L.M. by means of force likely to produce great bodily injury,

in violation of California Penal Code Sections 21a, 664, 245(a) (4).

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COUNT FOUR
[18 U.S.C. §§ 1959(a) (1), 2(a)]

1. Paragraphs 1 through 13 of the General Allegations of this
Indictment, paragraphs 2 through 6 of Count One, and Paragraphs 2 and
3 of Count Two of this Indictment are hereby re-alleged and
incorporated by reference as though fully set forth herein.

2. On or about April 22, 2014, in Los Angeles and San
Bernardino Counties, within the Central District of California, for
the purpose of maintaining and increasing position in the Mexican
Mafia LACJ Enterprise, an enterprise engaged in racketeering
activity, defendant DAVID VILLALOBOS, also known as “Grumpy,” DAVID
DIAZ, aka “Stomps,” and DIANA MARTINEZ, aka “Devine,” aiding and
abetting each other, unlawfully and knowingly kidnapped C.R., in

violation of California Penal Code Section 207.

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COUNT FIVE
[18 U.S.C. § 1959(a) (5) ]

1. Paragraphs 1 through 13 of the General Allegations of this
Indictment, paragraphs 2 through 6 of Count One, and Paragraphs 2 and
3 of Count Two of this Indictment are hereby re-alleged and
incorporated by reference as. though fully set forth herein.

2. On or about April 22, 2014, in Los Angeles and San
Bernardino Counties, within the Central District of California, for
the purpose of maintaining and increasing position in the Mexican
Mafia LACJ Enterprise, an enterprise engaged in racketeering
activity, defendants DAVID VILLALOBOS, also known as (“aka”)

“Grumpy, “ DAVID DIAZ, aka “Stomps,” and DIANA MARTINEZ, aka “Devine,”
and others known and unknown to the Grand Jury, unlawfully and
knowingly conspired to kidnap C.R., in violation of California Penal

Code Sections 182 and 207.

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COUNT SIX
[21 U.S.C § 846]

1. Paragraphs 1 through 13 of the General Allegations of this
Indictment, and paragraphs 1 through 6 of Count One of this
Indictment, are re-alleged and incorporated by reference as though
fully set forth herein.

A. OBJECTS OF THE CONSPIRACY

 

2. Beginning on a date unknown to the Grand Jury and
continuing to on or about the date of this Indictment, in Los Angeles
and San Bernardino Counties, within the Central District of
California, and elsewhere, defendants JOSE LANDA-RODRIGUEZ, also
known as (“aka”) “Jose Rodriguez-Landa,” aka “Jose Landa,” aka “Jose
Rodriguez,” aka “Fox,” aka “Fox Tapia,” aka “F-X,” aka “Alejandro
Tapia,” aka “Cola Rojo,” aka “Red Tail,” aka “Pops,” aka “Tio,” aka
“The General,” aka “Taras,” aka “The Old Man,” aka “The Animal,” aka
“Old School” (“JOSE LANDA-RODRIGUEZ”), LUIS VEGA, aka “Little One,”
aka “L-1,” aka “Tito” (“LUIS VEGA”), GABRIEL ZENDEJAS-CHAVEZ, aka
“Corbatas” (“GABRIEL ZENDEJAS-CHAVE4Z”), RAFAEL LEMUS, aka “Ere,” aka
“The Voice,” aka “La Voz” (“RAFAEL LEMUS”), LUIS GARCIA, aka “Hefty,”
aka “Grimm,” aka “H” (“LUIS GARCIA”), ALVINO MUNOZ, aka “Bino,” aka
“BY” (“ALVINO MUNOZ”), DANIEL CERVANTES, aka “Maniac,” aka “J,” aka
“paisa Jose” (“DANIEL CERVANTES”), MIGUEL CALDERON, aka “Big Speedy,”
aka “Mickey” (“MIGUEL CALDERON”), ERNESTO VARGAS, aka “Huero” aka
“Huero Caballero,” aka “Paisa Huero” (“ERNESTO VARGAS”), MIGUEL
RODRIGUEZ, aka “Rebel,” aka “Pee Wee,” aka “R” (“MIGUEL RODRIGUEZ”),
GILBERT PARRA, aka “Droopy,” aka “Chavo” (“GILBERT PARRA”), GERARDO
TAPIA, aka “Jerry” (“GERARDO TAPIA”), DONATO GONZALES, aka “Nato,”
aka “Nasty,” aka “Debo,” aka “Ray” (“DONATO GONZALES”), MIGUEL

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GARCIA, aka “Toro,” aka “Hulk,” aka “T,” aka “Horns” (“MIGUEL
GARCIA”), HECTOR DUARTE, aka “Lil Man,” aka “Hecko” (“HECTOR
DUARTE”), SAMANTHA RIVERA, aka “Sam,” aka “S$” (“SAMANTHA RIVERA”),
MARK LANDEROS, aka “Smokey,” aka “Troy,” aka “Hot” (“MARK LANDEROS”),
JONATHAN VERDEJA, “Hardcore,” aka “Duke” (“JONATHAN VERDEVJA”),
CECILIA VIRGEN, aka “Cecilia DeLeon,” aka “Sessy,” aka “Hazel,” aka
“Gia,” aka “Sky,” aka “Hooker” (“CECILIA VIRGEN”), LAUREEN GARCIA,
aka “L” (“LAUREEN GARCIA”), NANCY DUARTE, aka “Pink” (“NANCY
DUARTE”), VALERIE TREJO, aka “Val” (“VALERIE TREJO”), GENESSIS
BLANCO, aka “Pink” (“GENESSIS BLANCO”), KELLY JO BELL (“KELLY JO
BELL”), JOSE FLORES, aka “Silent,” aka “Lo” (“JOSE FLORES”), MARK
LEVY, aka “Cloudy,” aka “C3” (“MARK LEVY”), VALENTIN CORDOVA, aka
“Teen” (“VALENTIN CORDOVA”), FRANKIE MEGORADO, aka “Frankie
Mejorado,” aka “Slick,” aka “Junior,” aka “Speedy” (“FRANKIE
MFEGORADO”), JOSE OLEA, aka “Sniper” (“JOSE OLEA”), MANUEL JIMENEZ,
aka “Porky” (“MANUEL JIMENEZ”), ALAVARO LEYVA, aka “Flaco,” aka
“Trigger” (“ALAVARO LEYVA’), CHRIS FERREIRA, aka “Caveman” (“CHRIS
FERREIRA”), DAVID BERNARDINO, aka “Downer” (“DAVID BERNARDINO”),
ANDREW PINEDA, aka “Mighty,” aka “Shy Boy” (“ANDREW PINEDA”), ALONDRA
GOMEZ (“ALONDRA GOMEZ”), MIRIAM MEZA (“MIRIAM MEZA”), ANA MARTINEZ,
aka “Ana America,” aka “Bandit” (“ANA MARTINEZ”), ALVARO RUIZ, aka
“Roach” (“ALVARO RUIZ”), ADRIAN ARAIZA, aka “Chemo” (“ADRIAN
ARAIZA”), GAIL PONCE, aka “Bashful” (“GAIL PONCE”), DIANA MARTINEZ,
aka “Devine” (“DIANA MARTINEZ”), MARLON CORNEJO, aka “Maniac”
(“MARLON CORNEJO”), ANGEL SANCHEZ, aka “Lil Triste” (“ANGEL
SANCHEZ”), JUAN REYES, aka “Cosmo” (“JUAN REYES”), RICHARD BAILEY,
aka “Spooks,” aka “Nigger Richard,” aka “Half and Half” (“RICHARD
BAILEY”), MICHAEL BENNETT, aka “Irish” (“MICHAEL BENNETT”), EDWIN

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1 ||AYALA, aka “Happy” (“EDWIN AYALA”), ROBERT RAMIREZ, aka “Wiz”
2 (“ROBERT RAMIREZ”), KRISTEN AYALA (“KRISTEN AYALA”), RICHARD GRIEGO,
3 aka “Twisted,” aka “Pretzel” (“RICHARD GRIEGO”), JONATHAN RODRIGUEZ,
4 llaka “Sharkie” (“JONATHAN RODRIGUEZ”), BRYANNA MCCULLAH, aka “Bee Bee”
5 (“BRYANNA MCCULLAH”), JUAN NMN GARCIA, aka “Trouble” (“JUAN NMN
6 ||GARCIA”), JONATHAN MENDEZ, aka “Casper,” aka “Smokes” (“JONATHAN
7 ||MENDEZ”), MARTIN SALZAR aka “Sweeper” (“MARTIN SALAZAR”), RAMON
8 | AMAYA, aka “Lil Happy” (“RAMON AMAYA”), FRANK HERRERA, aka “Dopey,”
9 |aka “Ben” (“FRANK HERRERA”), ALEJANDRO MARTINEZ, aka “Smokey”
10 (“ALEJANDRO MARTINEZ”), and MARCO MEZA, aka “Green Byes,” aka “Ojos”
11 (“MARCO MEZA”), and others known and unknown to the Grand Jury,
12 conspired and agreed with each other to knowingly and intentionally
13 || distribute, and possess with intent to distribute, the following
14 | controlled substances:
15 a. at least 500 grams of a mixture and substance
16 |lcontaining a detectable amount of methamphetamine, a Schedule II
17 ||controlled substance, in violation of Title 21, United States Code,
18 ||Sections 841(a) (1) and (b) (1) (A) (viii);
19 b. at least 50 grams of methamphetamine, a Schedule II
20 |lcontrolled substance, in violation of Title 21, United States Code,
21 ||Sections 841(a) (1) and (b) (1) (A) (viii);
22 Cc. at least 100 grams of a mixture and substance
23 ||containing a detectable amount of heroin, a Schedule I narcotic drug
24 |\icontrolled substance, in violation of Title 21, United States Code,
25 Sections 841(a)(1) and (b) (1) (B) (i);
26 d. cocaine, a Schedule II narcotic drug controlled
27 \lsubstance, in violation of Title 21, United States Code, Sections
28 1/841(a) (1) and (b) (1) (C); and
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e. marijuana, a Schedule I controlled substance, in

violation of Title 21, United States Code, Sections 841 (a) (1) and
(b) (1) (D).
B. MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE

ACCOMPLISHED

3. Paragraph 9 of Count One of this Indictment is re-alleged
and incorporated by reference as if fully set forth herein.
Cc. OVERT ACTS

4. On or about the following dates, in furtherance of the
conspiracy, and to accomplish the object of the conspiracy,
defendants JOSE LANDA-RODRIGUEZ, LUIS VEGA, GABRIEL ZENDEJAS—CHAVEZ,
RAFAEL LEMUS, LUIS GARCIA, ALVINO MUNOZ, DANIEL CERVANTES, MIGUEL
CALDERON, ERNESTO VARGAS, MIGUEL RODRIGUEZ, GILBERT PARRA, GERARDO
TAPIA, DONATO GONZALES, MIGUEL GARCIA, HECTOR DUARTE, SAMANTHA
RIVERA, MARK LANDEROS, JONATHAN VERDEJA, CECILIA VIRGEN, LAUREEN
GARCIA, NANCY DUARTE, VALERIE TREJO, GENESSIS BLANCO, KELLY JO BELL,
JOSE FLORES, MARK LEVY, VALENTIN CORDOVA, FRANKIE MEGORADO, JOSE
OLEA, MANUEL JIMENEZ, ALAVARO LEYVA, CHRIS FERREIRA, DAVID
BERNARDINO, ANDREW PINEDA, ALONDRA GOMEZ, MIRIAM MEZA, ANA MARTINEZ,
ALVARO RUIZ, ADRIAN ARAIZA, GAIL PONCE, DIANA MARTINEZ, MARLON
CORNEJO, ANGEL SANCHEZ, JUAN REYES, RICHARD BALLEY, MICHAEL BENNETT,
EDWIN AYALA, ROBERY RAMIREZ, KRISTEN AYALA, RICHARD GRIEGO, JONATHAN
RODRIGUEZ, BRYANNA MCCULLAH, JUAN NMN GARCIA, JONATHAN MENDEZ, MARTIN
SALAZAR, RAMON AMAYA, FRANK HERRERA, ALEJANDRO MARTINEZ, and MARCO
MEZA, and others known and unknown to the Grand Jury, committed and
caused to be committed various overt acts within the Central District
of California, and elsewhere, including, but not limited to, Overt
Acts numbered 1 through 356 as set forth in Section F of Count One of

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this Indictment, which are re-alleged and incorporated by reference
as if fully set forth herein, in addition to the following:
Smuggling of Heroin and Methamphetamine into LACJ

Overt Act No. 357: From December 19, 2012, through January 22,

 

2013, defendants CECILIA VIRGEN and JOSE FLORES, UICC-3, and UICC-23,
arranged to smuggle approximately 64.6 grams of heroin and
approximately 36.7 grams of methamphetamine into LACJ on behalf of
DMM-1.

Overt Act No. 358: On January 19, 2013, at defendant CECILIA

 

VIRGEN’ s direction, UICC-23 possessed and smuggled in his body at
least 64.6 grams of heroin and 36.7 grams of methamphetamine into
LACJ for DMM-1.

Overt Act No. 359: On January 22, 2013, UICC-23 gave an unknown

 

amount of a controlled substance to UICC-3 in LACJ.
Smuggling of Methamphetamine, Heroin, and Marijuana into LACJ

Overt Act No. 360: From January 22, 2013, through February 28,

 

2013, defendant RICHARD GRIEGO arranged with defendants CECILIA
VIRGEN, VALERIE TREJO, and RICHARD BAILEY, for heroin,
methamphetamine, and marijuana to be smuggled to UICC-3 in LACJ on
behalf of DMM-1.

Overt Act No. 361: On February 28, 2013, defendant RICHARD

 

GRIEGO possessed in his body and attempted to smuggle approximately
26.2 grams of pure methamphetamine, approximately 62.9 grams of
heroin, and approximately 11.75 grams of marijuana into LACU for
UICC-3 and DMM-1.

Smuggling of Methamphetamine into LACJ

Overt Act No. 362: From July 24, 2013, through August 14, 2013,

 

defendant JONATHAN RODRIGUEZ arranged with defendants MARK LANDEROS,

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KRISTEN AYALA, BRYANNA MCCULLAH, and JUAN NMN GARCIA, and UICC-31, to
smuggle approximately one ounce of methamphetamine and one ounce of
marijuana into LACJ.

Overt Act No. 363: On July 25, 2013, in a recorded telephone

 

conversation, defendant KRISTEN AYALA advised UICC-31 on what to do
when he arrived at LACT with the smuggled drugs.

Overt Act No. 364: On August 3, 2013, in a recorded telephone

 

conversation between defendants MARK LANDEROS, JUAN NMN GARCIA, and
KRISTEN AYALA, defendant JUAN NMN GARCIA agreed to supply
methamphetamine and marijuana for defendant MARK LANDEROS, and gave

prices for the drugs.

Overt Act No. 365: On August 3, 2014, defendant JUAN NMN GARCIA

 

provided approximately one ounce of methamphetamine to defendant
KRISTEN AYALA so that the methamphetamine could be smuggled into LACJ
on behalf of defendant MARK LANDEROS.

Overt Act No. 366: On August 3, 2014, unindicted co-conspirator

 

KRISTEN AYALA obtained and packaged approximately one ounce of
methamphetamine so that it could be smuggled into LACJ on behalf of
defendant MARK LANDEROS.

Overt Act No. 367: From August 4, 2013, through August 12,

 

2013, UICC-31 possessed approximately one ounce of methamphetamine
for the purpose of smuggling it into LACJ on behalf of defendant MARK

LANDEROS.

Overt Act No. 368: On August 13, 2013, defendant BRYANNA

 

MCCULLAH possessed approximately one ounce of methamphetamine and
gave that methamphetamine to defendant .JONATHAN RODRIGUEZ, with the
intent that it be smuggled into LACJ on behalf of defendant MARK

LANDEROS.

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Overt Act No. 369: On August 13, 2013, in a recorded telephone

 

conversation, defendant JONATHAN RODRIGUEZ agreed with defendant MARK
LANDEROS to smuggle drugs into LACJ.

Overt Act No. 370: On August 14, 2013, defendant JONATHAN

 

RODRIGUEZ possessed approximately 22.7 grams of methamphetamine in in

his body which was discovered and seized by LASD deputies.
Smuggling of Methamphetamine and Marijuana into LACJ via Kidney

Dialysis Center

Overt Act No. 371: On September 21, 2013, defendant JONATHAN

 

MENDEZ attempted to smuggle approximately 51.29 grams of marijuana
and 13.2 grams of methamphetamine that had been left in a kidney
dialysis center by an unknown co-conspirator.

Possession of Heroin Within LACJ and Extortion

Overt Act No. 372: On or before December 18, 2013, defendant

 

I
JONATHAN RODRIGUEZ agreed to smuggle approximately 43.7 grams of
heroin inside Twin Towers for UICC-2 and defendant LUIS GARCIA.

Overt Act No. 373: On December 18, 2013, in Twin Towers,

 

defendant JONATHAN RODRIGUEZ, intending to distribute the drugs to
others on behalf of defendant JOSE LANDA-RODRIGUEZ, possessed
approximately 43.7 grams of heroin which was discovered and seized by
LASD deputies.

Smuggling of Drugs in LACJ

 

Overt Act No. 374: Between April 18, 2014, and April 20, 2014,

 

defendant FRANK HERRERA, on behalf of defendants DONATO GONZALEZ and
ALVARO RUIZ, obtained methamphetamine and heroin for the purpose of

having it smuggled into LACJ.

Overt Act No. 375: From April 20, 2014, through April 22, 2014,

 

an defendant RAMON AMAYA smuggled approximately 2.37 grams of heroin

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and 7.75 grams of methamphetamine into LACJ inside his body, with the
intent to distribute the drugs within LACd.

Overt Act No. 376: On April 22, 2014, defendant MARTIN SALAZAR

 

possessed approximately 2.37 grams of heroin and 7.75 grams of
methamphetamine that had been smuggled into LACJ by defendant RAMON
AMAYA in order to secrete the drugs from LASD deputies and to further
distribute the drugs within LACJ.

Smuggling of Heroin into LACJ

 

Overt Act No. 377: On or before October 22, 2014, defendant

 

MARCO MEZA agreed with defendant MIGUEL RODRIGUEZ to smuggle heroin

into LACJ.

Overt Act No. 378: On October 22, 2014, at the direction of

 

defendant MIGUEL RODRIGUEZ, defendant MARCO MEZA smuggled
approximately 18.82 grams of heroin into LACJ on behalf of defendant
JOSE LANDA-RODRIGUEZ.

Overt Act No. 379: On October 22, 2014, defendant MARCO MEZA

 

called defendant MIGUEL RODRIGUEZ to report that he had arrived at
LACJ with the heroin he had smuggled in.
Smuggling of Methamphetamine and Heroin into LACJ

Overt Act No. 380: On August 19, 2015, in a recorded telephone

 

conversation, defendant ROBERT RAMIREZ discussed smuggling drugs into
LACT with defendants ALVINO MUNOZ and KELLY JO BELL.

Overt Act No. 381: On September 1, 2015, in a recorded

 

telephone conversation, defendant ROBERT RAMIREZ spoke to an
unidentified unindicted co-conspirator who told defendant ROBERT
RAMIREZ that defendant ALEJANDRO MARTINEZ had the drugs to be
smuggled into LACJ for defendant JOSE LANDA-RODRIGUEZ.

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Overt Act No. 382: On September 1, 2015, ina recorded

 

telephone conversation, defendant ROBERT RAMIREZ told defendant KELLY

‘JO BELL that he got the message about defendant ALEJANDRO MARTINEZ

smuggling drugs into LACJ, that he located defendant ALEJANDRO
MARTINEZ right away, and that he would keep defendant KELLY JO BELL
updated as to the status of the drugs.

Overt Act No. 383: On September 1, 2015, defendant ALEJANDRO

 

MARTINEZ, having smuggled drugs into LACJ, possessed, inside his
body, approximately 41.8 grams of methamphetamine and 61.83 grams of

heroin, which was discovered and seized by LASD deputies.

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COUNT SEVEN
[21 U.S.C. §§ 841 (a) (1), (b) (1) (B) (viii) ]

On or about May 13, 2013, in Los Angeles County, within the
Central District of California, defendant MICHAEL BENNETT, also known
as “Irish,” knowingly and intentionally possessed with intent to
distribute at least five grams, that is, approximately 5.5 grams, of

methamphetamine, a Schedule II controlled substance.

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COUNT EIGHT
[21 U.S.C. SS 841 (a) (1), (b) (1) (B) (viii); 18 U.S.C. $ 2]

On or about August 14, 2014, in Los Angeles County, within the
Central District of California, defendant JONATHAN RODRIGUEZ, also
known as (“aka”) “Sharkie,” knowingly and intentionally possessed
with intent to distribute at least five grams, that is, approximately
22.7 grams, of methamphetamine, a Schedule II controlled substance.

At the above time and place, defendants MARK LANDEROS, aka
“Smokey,” aka “Troy,” aka “Hot,” KRISTEN AYALA, JUAN NMN GARCIA, aka
“Trouble,” and BRYANNA MCCULLAH, aka “Bee Bee,” knowingly and
intentionally aided, abetted, counseled, commanded, induced and
procured, and willfully caused, the commission of the offense alleged

above.

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COUNT NINE
[21 U.S.C. S§ 841 (a) (1), (b) (1) (B) (viii) ]

On or about September 21, 2013, in Los Angeles County, within
the Central District of California, defendant JONATHAN MENDEZ, also
known as (“aka”) “Casper,” aka “Smokes,” knowingly and intentionally
possessed with intent to distribute at least five grams, that is,
approximately 13.2 grams, of methamphetamine, a Schedule II

controlled substance.

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COUNT TEN
[21 U.S.C. §§ 841(a) (1), (b) (1) (D)]

On or about September 21, 2013, in Los Angeles County, within
the Central District of California, defendant JONATHAN MENDEZ, also
known as (“aka”) “Casper,” aka “Smokes,” knowingly and intentionally
possessed with intent to distribute approximately 51.29 grams of a
mixture and substance containing a detectable amount of marijuana, a

Schedule I controlled substance.

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COUNT ELEVEN
[21 U.S.C. §§ 841 (a) (1), (b) (1) (C)]

On or about December 18, 2013, in Los Angeles County, within the
Central District of California, defendant JONATHAN RODRIGUEZ, also
known as “Sharkie,” knowingly and intentionally possessed with intent
to distribute approximately 43.7 grams of a mixture and substance
containing a detectable amount of heroin, a Schedule I narcotic drug

controlled substance.

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COUNT TWELVE
[21 U.S.c. §§ 841(a) (1), (b) (1) (B) (viii); 18 U.S.C. § 2]

On or about April 22, 2014, in Los Angeles County, within the
Central District of California, defendants MARTIN SALAZAR, also known
as (“aka”) “Sweeper,” and RAMON AMAYA, aka “Lil Happy,” knowingly and
intentionally possessed with intent to distribute at least five
grams, that is, approximately 7.75 grams, of methamphetamine, a
Schedule II controlled substance.

At the above time and place, defendants GABRIEL ZENDEJAS—CHAVEZ,

aka “Corbatas,” DONATO GONZALEZ, aka “Nato,” aka Nasty,” aka “Debo, ”

aka “Ray,” ALVARO RUIZ, aka “Roach,” and FRANK HERRERA, aka “Dopey,”
aka “Ben,” knowingly and intentionally aided, abetted, counseled,
commanded, induced and procured, and willfully caused, the commission

of the offense alleged above.

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COUNT THIRTEEN
[21 U.S.C. S§ 841 (a) (1), (b) (1) (C); 18 U.S.C. § 2]

On or about April 22, 2014, in Los Angeles County, within the
Central District of California, defendants MARTIN SALAZAR, also known
as (“aka”) “Sweeper,” and RAMON AMAYA, aka “Lil Happy,” knowingly and
intentionally possessed with intent to distribute approximately 2.37
grams of a mixture and substance containing a detectable amount of
heroin, a Schedule I narcotic drug controlled substance.

At the above time and place, defendants GABRIEL ZENDEJAS—CHAVEZ,
aka “Corbatas,” DONATO GONZALEZ, aka “Nato,” aka Nasty,” aka “Debo,”
aka “Ray,” ALVARO RUIZ, aka “Roach,” and FRANK HERRERA, aka “Dopey,”
aka “Ben,” knowingly and intentionally aided, abetted, counseled,
commanded, induced and procured, and willfully caused, the commission

of the offense alleged above.

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COUNT FOURTEEN

[21 U.S.C. S§ 841 (a) (1), (b) (1) (A) (viii); 18 U.S.C. § 2(a)]

On or about April 30, 2014, in Los Angeles County, within the
Central District of California, defendants GERARDO TAPIA, also known
as (“aka”) “Jerry,” and DIANA MARTINEZ, aka “Devine,” each aiding and
abetting each other, knowingly and intentionally possessed with
intent to distribute at least 500 grams, that is, approximately 1,746

grams, of methamphetamine, a Schedule II controlled substance.

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COUNT FIFTEEN
[21 U.S.C. §§ 841 (a) (1), (b) (1) (A) (viii) ]

On or about May 9, 2014, in Los Angeles County, within the
Central District of California, defendant GERARDO TAPIA, also known
as “Jerry,” knowingly and intentionally possessed with intent to
distribute at least 500 grams, that is, approximately 558.6 grams, of

methamphetamine, a Schedule II controlled substance.

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COUNT SIXTEEN
[21 U.S.C. $$ 841 (a) (1), (b) (1) (C); 18 U.S.C. § 2(a)]

On or about October 22, 2014, in Los Angeles County, within the
Central District of California, defendant MARCO MEZA, also known as
(“aka”) “Green Eyes,” aka “Ojos,” knowingly and intentionally
possessed with intent to distribute approximately 18.82 grams of a
mixture and substance containing a detectable amount of heroin, a
Schedule I narcotic drug controlled substance.

At the above time and place, defendant MIGUEL RODRIGUEZ, aka
“Rebel,” aka “Pee Wee,” aka “R,” knowingly and intentionally aided,
abetted, counseled, commanded, induced and procured, and willfully

caused, the commission of the offense alleged above.

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COUNT SEVENTEEN
[21 U.S.C. SS 841(a) (1), (b) (1) (A) (viii) ]

On or about October 24, 2014, in Los Angeles County, within the
Central District of California, defendant ERNESTO VARGAS, also known
as (“aka”) “Huero,” aka “Huero Caballero,” aka “Paisa Huero,”
knowingly and intentionally possessed with intent to distribute at
least 50 grams, that is, approximately 601.2 grams, of

methamphetamine, a Schedule II controlled substance.

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COUNT EIGHTEEN
[21 U.S.C. §§ 841(a) (1), (ib) (1) (B) (4) ]

On or about October 24, 2014, in Los Angeles County, within the
Central District of California, defendant ERNESTO VARGAS, also known
as (“aka”) “Huero,” aka “Huero Caballero,” aka “Paisa Huero,”
knowingly and intentionally possessed with intent to distribute at
least 100 grams, that is, approximately 501.3 grams, of a mixture and
substance containing a detectable amount of heroin, a Schedule I

narcotic drug controlled substance.

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COUNT NINETEEN
[21 U.S.C. §§ 841 (a) (1), (b) (1) (C)]

On or about October 24, 2014, in Los Angeles County, within the
Central District of California, defendant ERNESTO VARGAS, also known
as (“aka”) “Huero,” aka “Huero Caballero,” aka “Paisa Huero,”
knowingly and intentionally possessed with intent to distribute

approximately 1.4 grams of a mixture and substance containing a

detectable amount of cocaine base in the form of crack cocaine, a

Schedule II narcotic drug controlled substance.

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COUNT TWENTY
[21 U.S.C. §§ 841(a) (1), (b) (1) (C)]

On or about October 24, 2014, in Los Angeles County, within the
Central District of California, defendant ERNESTO VARGAS, also known
as (“aka”) “Huero,” aka “Huero Caballero,” aka “Paisa Huero,”
knowingly and intentionally possessed with intent to distribute
approximately 83.4 grams of cocaine, a Schedule II narcotic drug

controlled substance.

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COUNT TWENTY-ONE
[21 U.S.C. §§ 841(a) (1), (b) (1) (B) (viii); 18 U.S.C. S$ 2]

On or about September 1, 2015, in Los Angeles County, within the
Central District of California, defendant ALEJANDRO MARTINEZ, also
known as (“aka”) “Smokey,” knowingly and intentionally possessed with
intent to distribute at least five grams, that is, approximately 41.8
grams, of methamphetamine, a Schedule IT controlled substance.

At the above time and place, defendants ALVINO MUNOZ, aka
“Bino,” aka “B,” KELLY JO BELL, and ROBERT RAMIREZ, aka “Wiz,”
knowingly and intentionally aided, abetted, counseled, commanded,

induced and procured, and willfully caused, the commission of the

offense alleged above.

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COUNT TWENTY-TWO

[21 U.S.C. §§ 841(a) (1), (b) (1) (C)]
Central District of California, defendant ALEJANDRO MARTINEZ, also

intent to distribute approximately 61.83 grams of a mixture and
substance containing a detectable amount of heroin, a Schedule I
narcotic drug controlled substance.

At the above time and place, defendants ALVINO MUNOZ, aka
“Bino,” aka “B,” KELLY JO BELL, and ROBERT RAMIREZ, aka “Wiz,”
knowingly and intentionally aided, abetted, counseled, commanded,
induced and procured, and willfully caused, the commission of the

offense alleged above.

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On or about September 1, 2015, in Los Angeles County, within the

known as (“aka”) “Smokey,” knowingly and intentionally possessed with

 

 

 
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COUNT TWENTY-THREE
[21 U.S.C. §§ 841 (a) (1), (b) (1) (B) (viii) ]

On or about October 14, 2015, in Los Angeles County, within the
Central District of California, defendant KELLY JO BELL knowingly and
intentionally possessed with intent to distribute at least five
grams, that is, approximately 12.0 grams, of methamphetamine, a

Schedule II controlled substance.

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1 COUNT TWENTY-FOUR
2 [18 U.S.C. §§ 1956(a) (1) (A) (1), 2(b)]
3 On or about May 9 and May 10, 2013, in Los Angeles County,

4 \lwithin the Central District of California, and elsewhere, defendant
5 | DANIEL CERVANTES, also known as (“aka”) “Maniac,” aka “J,” aka “Paisa
6 || Jose,” knowing that the property involved in the financial
7 lltransaction described below represented the proceeds of some form of
8 llunlawful activity, conducted and willfully caused others to conduct a
9 | financial transaction affecting interstate and foreign commerce,
10 namely, the exchange of $7,976 worth of money orders for $7,178 in
11 |icash, which transaction, in fact, involved the proceeds of specified
12 |lunlawful activity, that is, Extortion, in violation of California
13 || Penal Code Sections 21(a), 31, 182, 518, 519, 524, and 664, and
14 ||Conspiracy to Distribute Controlled Substances, in violation of Title
15 21, United States Code, Section 846, with the intent to promote the
16 ||carrying on of such specified unlawful activity.
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COUNT TWENTY-FIVE
[18 U.S.C. §§ 1956(a) (1) (A) (1), 2(b)]

On or about May 25, 2013, in Los Angeles County, within the
Central District of California, and elsewhere, defendant ANA
MARTINEZ, also known as (“aka”) “Ana America,” aka “Bandit,” knowing
that the property involved represented the proceeds of some form of
unlawful activity, conducted and willfully caused others to conduct a
financial transaction affecting interstate and foreign commerce,
namely, the conversion to cash of $500 of money orders, representing
the proceeds of extortion and a conspiracy to distribute controlled
substances, which transaction, in fact, involved the proceeds of
specified unlawful activity, that is, Extortion, in violation of
California Penal Code Sections 21(a), 31, 182, 518, 519, 524, and
664, and Conspiracy to Distribute Controlled Substances, in violation
of Title 21, United States Code, Section 846, with the intent to

promote the carrying on of such specified unlawful activity.

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COUNT TWENTY-SIX
[18 U.S.C. § 1029(a) (3)]

On or about August 7, 2013, in Los Angeles County, within the
Central District of California, defendant ANA MARTINEZ, also known as
(“aka”) “Ana America,” aka “Bandit” (“ANA MARTINEZ”), knowingly and
with intent to defraud, possessed at least fifteen unauthorized
access devices (as defined in Title 18, United States Code, Sections
1029(e) (1) and (3)), namely, approximately 725 social security
numbers belonging to persons other than defendant ANA MARTINEZ, along
with dates of birth and names of persons other than defendant ANA
MARTINEZ, with said possession affecting interstate and foreign

commerce.

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COUNT TWENTY-SEVEN
[18 U.S.C. § 1028A(a) (1) ]

On or about August 7, 2013, in Los Angeles County, within the
Central District of California, defendant ANA MARTINEZ, also known as
(“aka”) “Ana America,” aka “Bandit”, (“ANA MARTINEZ”) knowingly
possessed, without legal authority, means of identification that
defendant ANA MARTINEZ knew belonged to another person, that is, a
social security number and date of birth belonging to M.V., during
and in relation to a felony violation of Title 18, United States
Code, Section 1029(a) (3), Possession of at least Fifteen Unauthorized

Access Devices, as charged in Count Twenty-Six of this Indictment.

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COUNT TWENTY-EIGHT.
[18 U.S.C. § 924 (c) (1) (A)]

On or about October 24, 2014, in Los Angeles County, within the
Central District of California, defendant ERNESTO VARGAS knowingly
used and carried a firearm, namely, a Kimber model Custom 2 .45
caliber semi-automatic pistol, bearing serial number K319556, during
and in relation to, and possessed that firearm in furtherance of, a
crime of violence, namely, Racketeering Conspiracy, in violation of
Title 18, United States Code, Section 1962(d), as charged in Count
One of this Indictment, and drug trafficking crimes, namely,
Conspiracy to Distribute Controlled Substances, in violation of Title
21, United States Code, Section 846, as charged in Count Six of this
Indictment, and Possession with Intent to Distribute Controlled
Substances, in violation of Title 21, United States Code, Section
841 (a) (1), as charged in Counts Seventeen, Eighteen, Nineteen, and

Twenty of this Indictment.

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COUNT TWENTY-NINE
[18 U.S.C. § 922(g) (1)]

On or about October 24, 2014, in Los Angeles County, within the
Central District of California, defendant ERNESTO VARGAS, also known
as (“aka”) “Huero,” aka “Huero Caballero,” aka “Paisa Huero”
(“VARGAS”), knowingly possessed a firearm, namely, a Kimber model
Custom 2 .45 semi-automatic pistol, bearing serial number K319556,
and ammunition, namely, seven rounds of Remington .45 caliber
ammunition, in and affecting interstate and foreign commerce.

Such possession occurred after defendant VARGAS had been
convicted of at least one of the following felony crimes, each
punishable by a term of imprisonment exceeding one year:

(1) Manufacture of a Controlled Substance, in violation of
California Health and Safety Code Section 11379.6, in the Superior
Court of the State of California, County of Los Angeles, case number
NAO48204, on or about April 4, 2001;

(2) Sale of a Controlled Substance, in violation of California
Health and Safety Code Section 11379, in the Superior Court of the
State of California, case number BA250764, on or about April 15,

2004.

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FORFEITURE ALLEGATION ONE
[18 U.S.C. § 1963]

5. Pursuant to Rule 32.2 of the Federal Rules of Criminal
Procedure, notice is hereby given to the defendants that the United
States will seek forfeiture as part of any sentence in accordance
with Title 18, United States Code, Section 1963, in the event of any
defendant’s conviction under Count One of this Indictment.

6. Defendants shall forfeit to the United States the following
property:

a. All right, title, and interest in:

i. any and all interest including, without
limitation, any and all interest in any and all property (real,
personal, tangible, intangible or otherwise) any person acquired or
maintained in violation of Title 18, United States Code, Section
1962; .

ii. any and all interest in, security of, claims
against, or property or contractual right of any kind affording a
source of influence over, any enterprise which any person
established, operated, controlled, conducted or participated in the
conduct of, in violation of Title 18, United States Code, Section
1962; and

iii. any and all property (real, personal, tangible,
intangible or otherwise) constituting, or derived from, any proceeds
obtained, directly or indirectly, from racketeering activity or
unlawful debt collection in violation of Title 18, United States
Code, Section 1962; and

b. A sum of money equal to the total value of the
property described in subsection a. If more than one defendant is

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found guilty under Count One each such defendant shall be jointly and
severally liable for the entire amount forfeitable pursuant to that
Count.

7. Pursuant to Title 18, United States Code, Section 1963(m),
each defendant shall forfeit substitute property, up to the value of
the money and property described in the preceding paragraph, if, as
the result of any act or omission of a defendant, the property
described in the preceding paragraph,.or any portion thereof (a)
cannot be located upon the exercise of due diligence; (b) has been
transferred, sold to, or deposited with a third party; (c) has been
placed beyond the jurisdiction of the court; (d) has been
substantially diminished in value; or (e) has been commingled with

other property that cannot be divided without difficulty.

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FORFEITURE ALLEGATION TWO

[21 U.S.C. § 853]

Counts One and Six of this Indictment are hereby repeated, re-
alleged, and incorporated by reference herein as though fully set
forth at length for the purpose of alleging forfeiture pursuant to

the provisions of Title 21, United States Code, Section 853.

given to the defendants that the United States will seek forfeiture
as part of any sentence in accordance with Title 21, United States
Code, Section 853, in the event of any defendant’s conviction under
any of Counts Six through Twenty-Three of this Indictment.

2. Fach defendant convicted under any of Counts Six through
Twenty-Three shall forfeit to the United States any property
constituting, or derived from, any proceeds the person obtained,
directly or indirectly, as the result of such violation and any of
the person’s property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of such violation.

3. Pursuant to Title 21, United States Code, Section 853(p),
each defendant shall forfeit substitute property, up to the value of
the total amount described in paragraph 2, if, as the result of any
act or omission of said defendant, the property described in
paragraph 2, or any portion thereof (a) cannot be located upon the
exercise of due diligence; (b) has been transferred, sold to, or
deposited with a third party; (c) has been placed beyond the
jurisdiction of the court; (d) has been substantially diminished in
value; or (e) has been commingled with other property that cannot be
divided without difficulty.

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1. The allegations contained in the general allegations and in

Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby

 

 
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FORFEITURE ALLEGATION THREE
[18 U.S.C. § 924(d); 28 U.S.C. § 2461]

1. Pursuant to Rule 32.2 of the Federal Rules of Criminal
Procedure, notice is hereby given to the defendants that the United
States will seek forfeiture as part of any sentence in accordance
with Title 18 United States Code, Section 924(d), of any defendant’s
conviction under any of Counts Twenty-Eight through Twenty-Nine of
this Indictment.

2. Such defendants shall forfeit to the United States all
firearms and ammunition involved in the commission of each such

offense, including all firearms and ammunition in this Indictment.

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Foreperson

NICOLA T. HANNA
United States Attorney

Xo

LAWRENCE S. MIDDLETON
Assistant United States Attorney
Chief, Criminal Division

SHAWN J. NELSON

Assistant United States Attorney

Acting Deputy Chief, Organized Crime
Drug Enforcement Task Force Section

MAX B. SHINER

Assistant United States Attorney
Special Counsel to the United States
Attorney for Violent Crime

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